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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION


     In re:                                            Chapter 11

     PATRIOT COAL CORPORATION, et al.,                 Case No. 15-32450 (KLP)

                       Debtors.                        Jointly Administered


     BLACK DIAMOND COMMERCIAL FINANCE,                 Adv. Proc. No. 16-03105
     LLC,                                              (KLP)

                       Plaintiff,

                    -against-

     VIRGINIA CONSERVATION LEGACY FUND,
     INC. and ERP COMPLIANT FUELS, LLC,

                       Defendants.


     VIRGINIA CONSERVATION LEGACY FUND,
     INC. and ERP COMPLIANT FUELS, LLC,

                       Counterclaim-Plaintiffs,

                    -against-

     BLACK DIAMOND COMMERCIAL FINANCE,
     LLC,

                       Counterclaim-Defendant.



                           REVISED STIPULATION
                ENTERING INTO EVIDENCE UNOPPOSED EXHIBITS
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                                       Stipulation by the Parties

            This Revised Stipulation Entering Into Evidence Unopposed Exhibits (the “Revised

    Stipulation”)    is   entered   into   this   25th   day   of   June   2018,   by   and   among

    Defendants/Counterclaim-Plaintiffs Virginia Conservation Legacy Fund, Inc. and ERP

    Compliant Fuels, LLC (collectively, “VCLF”) and Black Diamond Commercial Finance, LLC

    (“Black Diamond”) (together, the “Parties”), in the above-captioned adversary proceeding.

            WHEREAS, the Parties filed the Stipulation Entering into Evidence Unopposed

    Exhibits (Dkt. No. 341, the “Initial Stipulation”) on June 3, 2018;

            WHEREAS, the Court admitted into evidence the unopposed exhibits on June 4, 2018;

            WHEREAS, the Court requested that the Parties attempt to resolve any disputes

    concerning exhibits that have not been entered into evidence, and as to whose admissibility the

    Court did not rule at trial;

            THE PARTIES NOW, THEREFORE, STIPULATE AND AGREE, by their

    undersigned counsel, that:

            1.       The following exhibits shall be entered into evidence:


    Exhibit      Identified   Admitted                   Description                BegBates and
     No.                                                                             EndBates
                                           Draft Valuation of Patriot Coal         BDCF-00007688 -
                                           Services LLC Black Lung                 BDCF-00007751
                                           Liabilities as of December 31,
   1                                       2013, dated January 17, 2014
                                           Oliver Wyman, Actuarial                 BDCF-00007341 -
                                           Evaluation of Workers’                  BDCF-00007532
                                           Compensation Liability as of
                                           September 30, 2013, December 19,
                                           2013 and December 31, 2013 for
                                           Midwest - Patriot Coal, dated
   2                                       January 30, 2014
                                           Oliver Wyman, Actuarial                 BDCF-00007873 -
                                           Evaluation of Workers’                  BDCF-00008166
                                           Compensation Liability as of
   3                                       September 30, 2013, December 18,

                                                     2
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    Exhibit   Identified   Admitted                Description                BegBates and
     No.                                                                       EndBates
                                      2013 and December 31, 2013 for
                                      West Virginia - Patriot Coal, dated
                                      January 30, 2014
                                      10/23/2015 Email from P. Potter to     VCLF-00183073 -
   4                                  T. Clarke and others                   VCLF-00183075
                                      Oliver Wyman, Actuarial                BDCF-00000038 -
                                      Evaluation of Workers’                 BDCF-00000225
                                      Compensation Liability as of
                                      September 30, 2014 and December
                                      31, 2014 for Midwest - Patriot
   5                                  Coal, dated January 20, 2015
                                      Oliver Wyman, Actuarial                BDCF-00000226 -
                                      Evaluation of Workers’                 BDCF-00000517
                                      Compensation Liability as of
                                      September 30, 2014 and December
                                      31, 2014 for West Virginia - Patriot
   6                                  Coal, dated January 20, 2015
                                      Draft Valuation of Patriot Coal        BDCF-00000520 -
                                      Services LLC Black Lung                BDCF-00000608
                                      Liabilities as of December 31,
   7                                  2014, dated February 5, 2015
                                      6/10/2015 Teneo Engagement             VCLF-00023305 -
   8                                  Letter                                 VCLF-00023313
   9                                  6/28/2015 Dial-in appointment          VCLF-00172923
   10                                 7/24/2015 Dial-in appointment          VCLF-00173077
                                      8/4/2015 Email from B. Murphy to       VCLF-00173115 -
                                      T. Clarke and others                   VCLF-00173116
                                                                             VCLF-00126727 -
   11                                                                        VCLF-00126734
                                      8/6/2015 Email from T. Clarke to J.    VCLF-00027564 -
   12                                 McCoy and others                       VCLF-00027568
                                      8/6/2015 Email from J. McCoy to
                                      M. Johnson re: Fwd: Proposed
                                      Terms of ERP Compliant Fuels,
                                      LLC Membership and Operating
   13                                 Agreement 8-6-2015
                                      8/14/2015 Email from B. Murphy         VCLF-00173139 -
   14                                 to T. Clarke                           VCLF-00173142
                                      Asset Purchase Agreement, dated
   15                                 August 16, 2015



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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      8/24/2015 Email from B. Murphy       TEN0013126 -
   16                                 to P. Laud                           TEN0013130
                                      ERP Compliant Fuels, LLC            BDCF-00025931 -
   17                                 presentation, dated August 27, 2015 BDCF-00025952
                                      9/10/2015 Email from R.              PWSP-00018388 -
   18                                 Kwasteneit to P. Potter              PSWP-00018389
                                      9/15/2015 Email from J. McCoy to
                                      M. Johnson re: Proposed Terms of
                                      ERP Compliant Fuels, LLC
                                      Membership and Operating
   20                                 Agreement 8-6-2015
                                      9/15/2015 Email from J. McCoy to
                                      T. Darden re: Fwd: ERP Compliant
   21                                 Fuels Org Chart 091415
                                      9/18/2015 Email from J. McCoy to     IM-00016827 -
   26                                 T. Darden                            IM-00016828
                                      9/19/2015 Email from J. McCoy to     IM-00016845 -
   27                                 T. Darden                            IM-00016857
                                      9/18/2015 Email from J. McCoy to
                                      C. Worcester and Guy re: new US
   29                                 coal opportunity
                                      9/18/2015 Email from J. McCoy to     (IM0202)
                                      R. McCormick re: TN Met Coal
   30                                 Project
                                      9/18/2015 Email from J. McCoy to     (IM0203)
   31                                 A. Qalbani re: patriot deal
                                      9/20/2015 Email from R. Ehrlich to   BDCF-00018511
   33                                 S. Deckoff and others
                                      9/20/2015 Email from R. Ehrlich to   BDCF-00018548 -
   34                                 T. Clarke                            BDCF-00018559
                                      9/20/2015 Email from R. Lattouf to   BDCF-00018560
   35                                 R. Ehrlich
                                      9/20/2015 Draft Commitment           BDCF-00020504 -
   36                                 Letter                               BDCF-00020508
                                      9/20/2015 Email from R. Ehrlich to   BDCF-00082485
   37                                 R. Silverman and others
                                      9/20/2015 Email from A. Harris to    SRZ-00000034
   38                                 P. Potter




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    Exhibit   Identified   Admitted                Description                BegBates and
     No.                                                                       EndBates
                                      9/20/2015 Email from B. Murphy         TEN0019455 -
   39                                 to K. Miller                           TEN0019456
                                      Commitment Letter                      BDCF-00028157 -
   40                                                                        BDCF-00028166
                                      Motion for an Order, Pursuant to
                                      Rule 9019 of the Federal Rules of
                                      Bankruptcy Procedure and Section
                                      105(A) of the Bankruptcy Code,
                                      Approving Settlement Agreement
                                      by and Between Old Republic
                                      Insurance Company and the
                                      Debtors, In re Patriot Coal Corp.,
   41                                 Case No. 15-32450 (Dkt. No. 1350)
                                      9/21/2015 Email from J. McCoy to
   42                                 M. Johnson re: Tuesday
                                      9/22/2015 Email from R. Lattouf to     BDCF-00020511 -
   43                                 R. Lattouf                             BDCF-00020514
                                      9/22/2015 Email from R. Lattouf to     BDCF-00020515 -
   44                                 R. Lattouf                             BDCF-00020592
                                      9/22/2015 Email from J. McCoy to
                                      F. Wendt re: VCLF Patriot Update
   45                                 9/21/2015
                                      9/22/2015 Email from J. McCoy to
                                      T. Darden re: VCLF Patriot Update
   46                                 9/21/2015
                                      9/23/2015 Email from J. McCoy to
                                      S. Humphrey re: VCLF Patriot
   47                                 Update 9-21-2015
                                      9/25/2015 Email from J. McCoy to
                                      T. Darden re: Fwd: Patriot - ERP
                                      Business Plan - DRAFT FOR
   48                                 REVIEW
                                      9/26/2015 Email from P. Potter to      SRZ-00000074 -
   49                                 A. Harris                              SRZ-00000075
                                      9/30/2015 Email from J. McCoy to       (IM0342)
                                      V. Mutolo, K. Miller re: Fwd:
                                      Patriot - ERP Business Plan -
   50                                 DRAFT FOR REVIEW
                                      9/30/2015 Email from J. McCoy to
                                      K. Miller re: Patriot - ERP Business
   51                                 Plan - DRAFT FOR REVIEW


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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      10/2/2015 Email from J. McCoy to
   52                                 D. Williams re: Patriot Trial
                                      10/7/2015 Email from T. Clarke to    BDCF-00041379 -
   53                                 R. Ehrlich                           BDCF-00041380
                                      10/7/2015 Email from A. Troop to     TEN043407
   54                                 T. Clarke
                                      10/9/2015 Email from S. Deckoff      BDCF-00043975 -
   55                                 to R. Ehrlich                        BDCF-00043976
                                      10/9/2015 Email from S. Deckoff      BDCF-00043994 -
   56                                 to K. McCoy                          BDCF-00043995
                                      12/09/2015 Email from M. Collins     VCLF-00013925 -
   57                                 to B. Murphy and others              VCLF-00013940
                                      10/10/2015 Email from J. Weiss to    BDCF-00044096 -
   58                                 S. Deckoff                           BDCF-00044101
                                      10/10/2015 Email from S. Deckoff     VCLF-00020195
   59                                 to K. McCoy
                                      Draft Amended and Restated Asset     BDCF-00078414 -
                                      Purchase Agreement, dated            BDCF-00078500
   61                                 10/13/2015
                                      10/13/2015 Email from P. Potter to   VCLF-00174166 -
   62                                 T. Clarke                            VCLF-00174167
                                      10/13/2015 Email from T. Clarke to VCLF-00174172 -
   63                                 P. Potter                          VCLF-00174173
                                      10/13/2015 Email from T. Clarke to VCLF-00174183 -
   64                                 A. Troop                           VCLF-00174186
                                      Order Approving Settlement
                                      Agreement By and Between Old
                                      Republic Insurance Company and
                                      the Debtors, In re Patriot Coal
                                      Corp. Case No. 15-32450 (Dkt. No.
   65                                 1640)
                                      10/14/2015 McCoy Text messages       (excerpt of VCLF-
   66                                 report                               00123846)
                                      10/14/2015 Email from J. McCoy       IM-00018626 -
   67                                 to R. Newton                         IM-00018637
                                      10/14/2015 Email from J. McCoy
                                      to G. Chamblee re: Revised Federal
   68                                 13 Week Cash Plan 10-11-2015
                                      10/15/2015 Email from J. McCoy       (IM0548)
   69                                 to M. Loreman re: Non-binding

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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      proposal to provide marketing
                                      services and inventory/receivables
                                      financing
                                      10/15/2015 Email from F. Kwok to     PWSP-00056197
   72                                 M. Mueller
                                      10/15/2015 Email from P. Potter to   VCLF-00174775 -
   73                                 T. Clarke and others                 VCLF-00176776
                                      10/15/2015 Email from D. Baxter      VCLF-00174798 -
   74                                 to T. Clarke                         VCLF-00174800
                                      10/15/2015 Email from T. Clarke to VCLF-00175456 -
   75                                 P. Potter                          VCLF-00175457
                                      10/15/2015 Email from M.             IM0546
                                      Loreman to J. McCoy re: Non-
                                      binding proposal to provide
                                      marketing services and
   76                                 inventory/receivables financing
                                      Draft Amended and Restated Asset     BDCF-00050049 -
                                      Purchase Agreement, dated            BDCF-00050123
   77                                 10/16/2015
                                      10/16/2015 Email from T. Clarke to SRZ-00004236 -
   78                                 P. Potter                          SRZ-00004240
                                      10/16/2015 Email from T. Clarke to VCLF-00175529 -
   79                                 P. Potter                          VCLF-00175531
                                      10/16/2015 Email from K. McCoy       VCLF-00175574 -
   80                                 to P. Potter                         VCLF-00175575
                                      Draft Amended and Restated Asset     BDCF-00054055 -
                                      Purchase Agreement, dated            BDCF-00054131
   81                                 10/19/2015
                                      10/19/2015 Email from B. Murphy      TEN0032007 -
   83                                 to K. McCoy                          TEN0032013
                                      10/19/2015 Email from J. McCoy       VCLF-00076894 -
   84                                 to K. McCoy and others               VCLF-00076898
                                      10/19/2015 Email from M.
                                      Loreman to J. McCoy re: Non-
                                      binding proposal to provide
                                      marketing services and
   85                                 inventory/receivables financing
                                      10/19/2015 Email from J. McCoy
                                      to D. Turner re: mining complex
   86                                 org chart


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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      10/19/2015 Email from J. McCoy       IM0628
                                      to K. McCoy, T. Clarke re: Non-
                                      binding proposal to provide
                                      marketing services and
   87                                 inventory/receivables financing
                                      Draft Amended and Restated Asset     BDCF-00062842 -
                                      Purchase Agreement, dated            BDCF-00062916
   88                                 10/20/2015
                                      Draft Amended and Restated Asset     BDCF-00066943 -
                                      Purchase Agreement, dated            BDCF-00067019
   89                                 10/20/2015
                                      10/23/2015 Email from R. Ehrlich     BDCF-00082513 -
   90                                 to H. Gravenhorst                    BDCF-00082515
                                      10/20/2015 Email from P. Potter to   IM-00011856 -
   91                                 R. Kwasteneit                        IM-00011857
                                      10/20/2015 Email from R.             PWSP-00062344 -
   92                                 Dombrowski to P. Potter              PWSP-00062368
                                      10/20/2015 Appointment re:           VCLF-00177668
                                      Patriot/VCLF: A&R Asset
   95                                 Purchase Agreement
                                      10/21/2015 Email from A. Harris to BDCF-00066686 -
   96                                 P. Potter                          BDCF-00066691
                                      10/21/2015 Email from P. Potter to   PWSP-00063467 -
   97                                 D. Baxter and others                 PWSP-00063472
                                      10/21/2015 Email from A. Harris to PWSP-00065859 -
   98                                 P. Potter                          PWSP-00065862
                                      10/21/2015 Email from A. Harris to SRZ-00011141 -
   99                                 D. Baxter, E. Monahan              SRZ-00011145
                                      10/21/2015 Email from B. Murphy      TEN0028618 -
   100                                to R. Ehrlich                        TEN0028620
                                      10/22/2015 Email from B. Murphy      BDCF-00076221 -
   101                                to R. Lattouf                        BDCF-00076224
                                      10/22/2015 Email from B. Murphy      TEN0028675 -
   102                                to J. Kucish and others              TEN0028681
                                      10/22/2015 Email from B. Murphy      TEN0028715
   103                                to T. Clarke
                                      10/22/2015 Email from Z.             TEN0032566 -
   104                                Messenger to B. Murphy               TEN0032567




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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/22/2015 Email from Z.             TEN0032568 -
   105                                Messenger to B. Murphy               TEN0032569
                                      10/22/2015 Email from P. Potter to   VCLF-00182731 -
   106                                C. Mirick and others                 VCLF-00182732
                                      10/22/2015 Email from P. Potter to   VCLF-00182833 -
   107                                T. Clarke                            VCLF-00182835
                                      10/22/2015 Email from B. Murphy      VCLF-00182954
   108                                to T. Clarke
                                      10/23/2015 Email from T. Clarke to BDCF-00076276 -
   109                                R. Ehrlich                         BDCF-00076278
                                      10/23/2015 Email from T. Clarke to BDCF-00076285 -
   110                                J. Fontana, R. Ehrlich and others  BDCF-00076287
                                      10/23/2015 Email from H.             BDCF-00076338 -
   111                                Gravenhorst to T. Clarke             BDCF-00076340
                                      10/23/2015 Email from D. Baxter      BDCF-00076344 -
   112                                to M. Collins and others             BDCF-00076345
                                      10/23/2015 Email from H.             BDCF-00076458 -
   113                                Gravenhorst to T. Clarke             BDCF-00076460
                                      10/23/2015 Email from B. Murphy      BDCF-00076464 -
   114                                to P. Potter and others              BDCF-00076467
                                      10/23/2015 Email from H.             BDCF-00076502 -
   115                                Gravenhorst to T. Clarke             BDCF-00076504
                                      10/23/2015 Email from H.             BDCF-00076508 -
   116                                Gravenhorst to T. Clarke             BDCF-00076510
                                      10/23/2015 Email from H.             BDCF-00076511 -
   117                                Gravenhorst to T. Clarke             BDCF-00076513
                                      10/23/2015 Email from R. Lattouf     BDCF-00076597 -
   118                                to Z. Messenger                      BDCF-00076598
                                      10/23/2015 Email from R. Ehrlich     BDCF-00082510 -
   119                                to H. Gravenhorst                    BDCF-00082512
                                      10/23/2015 Email from R. Ehrlich     BDCF-00082516 -
   120                                to H. Gravenhorst                    BDCF-00082518
                                      10/23/2015 Email from R. Ehrlich     BDCF-00082519 -
   121                                to H. Gravenhorst                    BDCF-00082521
                                      10/23/2015 Email from R. Ehrlich     BDCF-00082522 -
   122                                to H. Gravenhorst                    BDCF-00082524
                                      10/23/2015 Email from R. Ehrlich     BDCF-00082525 -
   123                                to H. Gravenhorst                    BDCF-00082528


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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/23/2015 Email from P. Potter to   KE_BD_0002431
   124                                R. Kwasteneit
                                      10/23/2015 Email from T. Clarke to TEN0028733 -
   125                                J. Fontana and others              TEN0028737
                                      10/23/2015 Email from J. McCoy       TEN0032586
   126                                to M. Loreman
                                      10/23/2015 Email from M. Madden      TEN0032607 -
   129                                to B. Murphy                         TEN0032608
                                      10/23/2015 Email from Z.             VCLF-00086293 -
   131                                Messenger to T. Clarke               VCLF-00086294
                                      10/23/2015 Email from Z.             VCLF-00086685 -
   132                                Messenger to T. Clarke               VCLF-00086686
                                      10/23/2015 Email from T. Clarke to VCLF-00087583 -
   133                                K. McCoy and others                VCLF-00087584
                                      10/23/2015 Email from K. McCoy       VCLF-00087672 -
   134                                to J. McCoy                          VCLF-00087673
                                      10/23/2015 Email from T. Clarke to VCLF-00087800 -
   135                                P. Potter and others               VCLF-00087801
                                      10/23/2015 Email from B. Murphy      VCLF-00087804 -
   136                                to P. Potter and others              VCLF-00087807
                                      10/23/2015 Email from M.             VCLF-00088150
   137                                Loreman to M. Collins
                                      10/23/2015 Email from T. Clarke to VCLF-00182964 -
   138                                P. Potter                          VCLF-00182966
   139                                10/23/2015 Dial-in appointment       VCLF-00183016
                                      10/23/2015 Email from P. Potter to   VCLF-00183080 -
   140                                T. Clarke and others                 VCLF-00183082
                                      10/23/2015 Email from K. McCoy       VCLF-00183194
   141                                to P. Potter
                                      10/23/2015 Email from P. Potter to   VCLF-00183195
   142                                K. McCoy
                                      10/23/2015 Email from K. McCoy       VCLF-00183196
   143                                to P. Potter
                                      10/23/2015 Email from M. Collins     IM0691
   144                                to J. McCoy re: Message from Tom
                                      10/23/2015 Email from M.
   145                                Loreman to J. McCoy re: call



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    Exhibit   Identified   Admitted                 Description               BegBates and
     No.                                                                       EndBates
                                      10/23/2015 Email from J. McCoy
                                      to S. Mundra, G. Chandak re: Non-
                                      binding proposal to provide
                                      marketing services and
   146                                inventory/receivables financing
                                      10/23/2015 Email from A. Rosen to
                                      S. Levine, G. Crandall re: Patriot -
                                      confidential privileged work
   147                                product
                                      10/23/2015 Email from R. Ehrlich
                                      to H. Gravenhorst re: FW:
   148                                Summary of ERP Facilities
                                      10/23/2015 Email from R. Ehrlich
                                      to H. Gravenhorst re: Summary of
   149                                ERP Facilities
                                      10/23/2015 Email from H.               BDCF-00076338 -
                                      Gravenhorst to T. Clarke re:           BDCF-00076340
   150                                Summary of ERP Facilities
                                      10/23/2015 Email from M.
   151                                Loreman to J. McCoy re: Fw: call
                                      10/23/2015 Email from J. McCoy
                                      to M. Collins re: Message from
   152                                Tom
                                      10/23/2015 Email from J. McCoy
   153                                to V. Mutolo re: United
                                      10/23/2015 Email from R. Ehrlich
                                      to H. Gravenhorst re: Summary of
   154                                ERP Facilities
                                      10/23/2015 Email from J. McCoy         IM0707
                                      to S. Mundra, G. Chandak re: Non-
                                      binding proposal to provide
                                      marketing services and
   155                                inventory/receivables financing
                                      10/23/2015 Email from M.               IM0699
   156                                Loreman to J. McCoy re: Fw: call
                                      10/24/2015 Email from S. Deckoff       BDCF-00077192
   157                                to R. Ehrlich
                                      10/24/2015 Email from R. Ehrlich       BDCF-00077196
   158                                to T. Clarke
                                      10/24/2015 Email from S. Deckoff       BDCF-00082156
   159                                to M. Moreno

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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/24/2015 Email from S. Bremer      CENTERVIEW_
   161                                to B. Murphy                         BD_0001664
                                      10/24/2015 Email from T. Clarke to TEN0032667 -
   162                                K. McCoy                           TEN0032670
                                      10/24/2015 Email from B. Bennett     TEN0032673 -
   163                                to B. Murphy                         TEN0032674
                                      10/24/2015 Email from B. Bennett     VCLF-00088306 -
   164                                to B. Murphy                         VCLF-00088307
                                      10/24/2015 Email from R. Ehrlich     VCLF-00088391
   165                                to T. Clarke
                                      10/24/2015 Email from R. Ehrlich     VCLF-00088393
   166                                to T. Clarke
                                      10/24/2015 Email from B. Murphy      VCLF-00173673
   167                                to Patriot Coal and others
                                      10/24/2015 Email from K. McCoy       VCLF-00183280 -
   169                                to P. Potter and others              VCLF-00183283
                                      10/24/2015 Email from B. Murphy      VCLF-00183302 -
   170                                to K. McCoy and others               VCLF-00183307
                                      10/24/2015 Email from B. Murphy      VCLF-00183335 -
   171                                to D. Baxter and others              VCLF-00183341
                                      10/24/2015 Email from B. Murphy      VCLF-00183409 -
   174                                to A. Troop and others               VCLF-00183410
                                      10/24/2015 Email from P. Potter to   VCLF-00183413 -
   175                                A. Troop and others                  VCLF-00183414
                                      10/24/2015 Email from T. Clarke to VCLF-00183565 -
   176                                P. Potter                          VCLF-00183568
                                      10/24/2015 Email from S. Bremer      CENTERVIEW_B
   177                                to B. Murphy                         D_0001664
                                      10/25/2015 Email from R. Ehrlich     BDCF-00077216 -
   178                                to S. Deckoff                        BDCF-00077218
                                      10/25/2015 Email from A. Harris to BDCF-00077252 -
   179                                P. Potter                          BDCF-00077253
                                      10/25/2015 Email from P. Potter to   BDCF-00077254 -
   180                                A. Harris                            BDCF-00077263
                                      10/25/2015 Email from A. Harris to BDCF-00077290 -
   181                                P. Potter                          BDCF-00077293
                                      10/29/2015 Email from P. Potter to   BDCF-00077403 -
   182                                A. Harris                            BDCF-00077404


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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/24/2015 Email from P. Keary to    TEN0032686
   183                                B. Murphy
                                      10/25/2015 Investment                VCLF-00090077
                                      Memorandum from G. Chandak to
   184                                ERP Complaint Fuels, LLC
                                      10/25/2015 Investment                VCLF-00154825
                                      Memorandum from G. Chandak to
   185                                ERP Complaint Fuels, LLC
                                      10/24/2015 Email from P. Potter to   VCLF-00183514 -
   186                                T. Clarke and others                 VCLF-00183518
                                      10/25/2015 Email from P. Potter to   VCLF-00183526 -
   187                                T. Clarke                            VCLF-00183527
                                      10/25/2015 Email from T. Clarke to VCLF-00183538 -
   188                                P. Potter                          VCLF-00183540
                                      10/25/2015 Email from P. Potter to   VCLF-00183544 -
   189                                T. Clarke                            VCLF-00183546
                                      10/25/2015 Email from P. Potter to   VCLF-00183547 -
   190                                T. Clarke                            VCLF-00183549
                                      10/25/2015 Email from P. Potter to   VCLF-00183554 -
   191                                T. Clarke                            VCLF-00183556
                                      10/25/2015 Email from T. Clarke to VCLF-00183573 -
   192                                P. Potter                          VCLF-00183574
                                      10/25/2015 Email from P. Potter to   VCLF-00183615 -
   193                                T. Clarke                            VCLF-00183620
                                      10/25/2015 Email from T. Clarke to VCLF-00183651 -
   194                                P. Potter                          VCLF-00183657
                                      10/25/2015 Email from W. Sullivan VCLF-00183705 -
   195                                to A. Troop                       VCLF-00183707
                                      10/25/2015 Email from P. Potter to   VCLF-00183759 -
   196                                A. Troop and others                  VCLF-00183760
                                      10/25/2015 Email from C. Mirick      VCLF-00183777 -
   197                                to P. Potter and others              VCLF-00183778
                                      10/25/2015 Email from P. Potter to   VCLF-00183900 -
   198                                C. Mirick, D. Baxter                 VCLF-00183904
                                      10/25/2015 Email from P. Potter to   VCLF-00183962 -
   199                                T. Clarke, K. McCoy                  VCLF-00183963
                                      10/26/2015 Email from T. Clarke to IM-00029415 -
   200                                G. Chandak                         IM-00029433



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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/26/2015 Email from D. Baxter      PWSP-00075733 -
   201                                to S. Levine and others              PWSP-00075735
                                      10/26/2015 Email from T. Clarke to VCLF-00090663 -
   202                                _Print Box                         VCLF-00090702
                                      10/26/2015 Email from J. McCoy       VCLF-00090777 -
   203                                to M. Collins                        VCLF-00090778
                                      10/26/2015 Email from M. Collins     VCLF-00090780 -
   204                                to K. McCoy and others               VCLF-00090820
                                      10/26/2015 Email from S. Levine      VCLF-00092244 -
   205                                to B. Murphy and others              VCLF-00092246
                                      10/26/2015 Email from P. Potter to   VCLF-00185523 -
   206                                C. Mirick and others                 VCLF-00185526
                                      10/26/2015 Email from T. Clarke to VCLF-00187508
   207                                J. McCoy
                                      10/26/2015 Email from J. McCoy
                                      to sm@mundraholdings.com re:
   209                                Fwd: Chandak Agreement
                                      10/26/2015 Email from G. Chandak
                                      to S. Mundra re: Fwd: Chandak
   210                                Agreement
                                      10/25/2015 Email from J. McCoy
                                      to G. Chandak and others re: Fwd:
   211                                Patriot/VCLF: Structure Chart
                                      10/26/2015 Email from J. McCoy
                                      to G. Woodruff and others re: Fwd:
   212                                2.5MM each guarantee
                                      10/26/2015 Email from J. McCoy
                                      to G. Woodruff and others re: Fwd:
   213                                2.5MM each guarantee
                                      10/27/2015 Email from P. Potter to   KE_BD_0002354
                                      R. Kwasteneit                        -
   214                                                                     KE_BD_0002355
                                      Promissory Note, Earnout         KE_BD_0007124
                                      Agreement and Security Agreement -
   215                                                                 KE_BD_0007143
                                      10/27/2015 Email from B. Murphy      TEN0032929
   216                                to M. Madden and others
                                      10/27/2015 Equity Investment         TEN0048605 -
   217                                Term Sheet                           TEN0048608


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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/27/2015 Assignment and            VCLF-00010900 -
   218                                Assumption Agreement                 VCLF-00010910
                                      10/27/2015 Email from B. Murphy      VCLF-00097678
   219                                to J. McCoy and others
                                      Final Amended and Restated Asset VCLF-00102359 -
                                      Purchase Agreement, dated October VCLF-00102919
   220                                27, 2015
                                      10/27/2015 Equity Investment         VCLF-00160295 -
   221                                Term Sheet                           VCLF-00160299
                                      10/27/2015 Email from J. McCoy       VCLF-00188715 -
   222                                to T. Clarke                         VCLF-00188721
                                      10/27/2015 Email from B. Murphy      VCLF-00188734 -
   223                                to M. McCoy, T. Clarke               VCLF-00188738
                                      10/27/2015 Email from J. McCoy
   224                                to C. DeGiacinto re: patriot
                                      10/27/2015 Email from M. Collins
                                      to G. Chandak re: ERP Federal
                                      Mining Complex, LLC Wire
   225                                Instructions
                                      10/27/2015 Email from K. Miller to
   226                                J. McCoy re: united
                                      10/27/2015 Email from J. McCoy
   227                                to C. DeGiacinto re: we closed
                                      10/28/2015 Email from A. Harris to BDCF-00077396
   228                                P. Potter
                                      10/28/2015 Email from B. Murphy      PWSP-00087889 -
   229                                to P. Potter and others              PWSP-00087891
                                      10/29/2015 Email from P. Potter to   BDCF-00077405 -
   230                                A. Harris                            BDCF-00077406
                                      10/29/2015 - Email from P. Potter    PWSP-00089770
   231                                to A. Harris
                                      10/29/2015 Email from P. Potter to   SRZ-00018794 -
   232                                A. Harris                            SRZ-00018795
                                      11/01/2015 Email from M.             VCLF-00104252
   236                                Loreman to T. Clarke
                                      11/03/2015 Email from M. Collins     VCLF-00009001 -
   237                                to K. McCoy and others               VCLF-00009006
                                      11/03/2015 Email from T. Clarke to VCLF-00009086
   238                                M. Loreman

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    Exhibit   Identified    Admitted                   Description                BegBates and
     No.                                                                           EndBates
                                        11/05/2015 Email from B. Murphy        TEN0034521 -
   239                                  to A. Zweig                            TEN0034522
                                        11/9/2015 Email from R. Lattouf to     BDCF-00077418
   240                                  R. Ehrlich
                                        9/11/2015 Email from B. Murphy         TEN0018387 -
   241                                  to R. Ehrlich                          TEN0018410
                                        11/19/2015 Hitachi Proposal            VCLF-00013234 -
   242                                                                         VCLF-00013237
                                        11/20/2015 Letter from T. Clarke to VCLF-00013214
   243                                  B. Murphy
                                        12/14/2015 North Mill Capital LLC VCLF-00014057 -
   244                                  Proposal                          VCLF-00014059
                                        Oliver Wyman, Actuarial
                                        Evaluation of Workers’
                                        Compensation Liability as of
                                        September 30, 2015 and December
                                        31, 2015 for Midwest - Patriot
   2451                                 Coal, dated December 22, 2015
                                        10/12/2015 text message from K.        excerpt of VCLF-
   246                                  McCoy to T. Clarke                     00123846
                                        10/23/2015 text message from K.        excerpt of VCLF-
   247                                  McCoy to T. Clarke                     00123846
                                        Oliver Wyman, Actuarial
                                        Evaluation of Workers’
                                        Compensation Liability as of
                                        September 30, 2015 and December
                                        31, 2015 for West Virginia - Patriot
   2482                                 Coal, dated January 14, 2016
                                        VCLF and ERP Responses to First
                                        Set of Interrogatories, dated
   249                                  10/31/2016
                                        VCLF and ERP Responses to First
                                        Set of Requests for Admission,
   250                                  dated 10/31/2016




    1
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.
    2
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.

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    Exhibit   Identified   Admitted                Description                BegBates and
     No.                                                                       EndBates
                                      VCLF and ERP Supplemental
                                      Interrogatory Responses to First Set
   251                                of Interrogatories, dated 11/21/2016
                                      Plaintiff’s Responses and
                                      Objections to
                                      Defendants/Counterclaim-
                                      Plaintiffs’ First Set of
   252                                Interrogatories, dated 12/12/2016
                                      AT&T phone records for T. Clarke,
                                      from 10/22/2015 through
   253                                10/25/2015
                                      Expert Report of Robert K. Briscoe,
   261                                WCP, dated 4/17/2018
                                      Screenshots of text messages from      BDCF-00082153 -
   262                                M. Moreno to S. Deckoff                BDCF-00082155
                                      9/22/2015 Email from J. McCoy to       IM0238 - IM0240
                                      T. Darden re: Fwd: VCLF Patriot
   263                                Update 9-21-2015
                                      9/25/2015 Email from J. McCoy to       IM0288
                                      T. Darden re: Fwd: Patriot - ERP
                                      Business Plan - DRAFT FOR
   264                                REVIEW
                                      10/14/2015 Email from J. McCoy         IM0515
                                      to G. Chamblee re: Revised Federal
   265                                13 Week Cash Plan 10-11-2105
                                      10/19/2014 Email from M.               IM0630
                                      Loreman to J. McCoy re: Non-
                                      binding proposal to provide
                                      marketing services and
   266                                inventory/receivables financing
                                      10/23/2015 Email from M. Collins       IM0691
   267                                to J. McCoy re: Message from Tom
                                      10/23/2015 Email from M.               IM0696
   268                                Loreman to J. McCoy re: call
                                      10/23/2015 Email from J. McCoy         IM0707
                                      to S. Mundra, G. Chandak re: Fwd:
                                      Non-binding proposal to provide
                                      marketing services and
   269                                inventory/receivables financing




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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/26/2015 Email from J. McCoy       IM0730
                                      to S. Mundra re: Fwd: Chandak
   270                                Agreement
                                      8/31/2015 Email from R. Ehrlich to   BDCF-00018025 -
   271                                S. Deckoff and others                BDCF-00018047
                                      9/23/2015 Email from K. McCoy to BDCF-00026071
   272                                R. Lattouf
                                      9/23/2015 Email from G.              BDCF-00027981 -
   273                                Shertenlieb to R. Lattouf            BDCF-00027988
                                      9/24/2015 Email from D. Tropp to     BDCF-00028141 -
   274                                R. Lattouf, M. Patrick               BDCF-00028150
                                      9/25/2015 Email from R. Ehrlich to   BDCF-00034443
   276                                T. Clarke
                                      9/25/2015 Email from T. Clarke to    BDCF-00038805 -
   277                                R. Ehrlich                           BDCF-00038807
                                      9/26/2015 Email from R. Lattouf to   BDCF-00038811 -
   278                                G. Shertenlieb                       BDCF-00038812
                                      9/26/2015 Email from R. Lattouf to   BDCF-00038813 -
   279                                D. Tropp, M. Patrick                 BDCF-00038824
                                      9/29/2015 Email from D. Tropp to     BDCF-00039968 -
   281                                R. Lattouf, M. Patrick               BDCF-00039981
                                      10/9/2015 Email from K. McCoy to BDCF-00043424 -
   282                                R. Ehrlich                       BDCF-00043428
                                      10/20/2015 Email from M. Mueller     BDCF-00062434 -
   285                                to A. Harris and others              BDCF-00063388
                                      10/21/2015 Email from B. Murphy      BDCF-00066479 -
   286                                to R. Lattouf and others             BDCF-00066481
                                      10/21/2015 Email from B. Murphy      BDCF-00066499 -
   287                                to R. Ehrlich                        BDCF-00065502
                                      10/21/2015 Email from B. Murphy      BDCF-00066698 -
   288                                to J. Kucish                         BDCF-00066702
                                      10/21/2015 Email from M. Mueller     BDCF-00074349 -
   289                                to S. Hessler and others             BDCF-00075311
                                      10/22/2015 Email from B. Murphy      BDCF-00076060 -
   291                                to R. Lattouf and others             BDCF-00076062
                                      10/22/2015 Email from R. Lattouf     BDCF-00076107 -
   292                                to B. Murphy, Z. Messenger           BDCF-00076108




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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      10/22/2015 Email from R. Lattouf     BDCF-00076111 -
   293                                to B. Murphy, Z. Messenger           BDCF-00076112
                                      10/22/2015 Email from Z.             BDCF-00076154 -
                                      Messenger to R. Lattouf, B.          BDCF-00076157
   294                                Murphy
                                      10/22/2015 Email from B. Murphy      BDCF-00076212 -
   295                                to Z. Messenger, R. Lattouf          BDCF-00076215
                                      10/24/2015 Email from R. Ehrlich     BDCF-00077194
   296                                to T. Clarke
                                      10/25/2015 Email from P. Potter to   BDCF-00077219 -
   297                                A. Harris                            BDCF-00077251
                                      10/25/2015 Email from P. Potter to   BDCF-00077254 -
   298                                A. Harris                            BDCF-00077263
                                      Screenshot of text message from S.   BDCF-00077481
   299                                Deckoff to T. Clarke
                                      R. Lattouf Hand notes                BDCF-00081969 -
   300                                                                     BDCF-00081996
                                      10/27/2015 Email from P. Potter to   KE_BD_0007119
                                      R. Kwasteniet                        -
   301                                                                     KE_BD_0007143
                                      10/26/2015 Email from E.             PWSP-00074657 -
   302                                Monahan to J. Pitts and others       PWSP-00074854
                                      9/20/2015 Email from B. Murphy       TEN0019465 -
   303                                to T. Clarke                         TEN0019467
                                      10/22/2015 Email from B. Bennett     VCLF-00085885 -
   304                                to T. Clarke                         VCLF-00085889
                                      10/2015 McCoy Text messages          VCLF-00123845
   305                                report                               excerpts
   306                                K. McCoy Old iPhone Report           VCLF-00123846
   307                                VCLF Privilege Log Excerpts
                                      8/17/2015 Email from Debtwire US BDCF-00011893 -
   311                                Alert to R. Ehrlich              BDCF-00011894
                                      8/27/2015 Email from P. Laud to R. BDCF-00017930 -
   312                                Ehrlich                            BDCF-00017935
                                      9/11/2015 Email from B. Murphy       BDCF-00018275 -
   313                                to R. Ehrlich                        BDCF-00018299
                                      9/13/2015 Email from B. Murphy       BDCF-00018384 -
   314                                to R. Ehrlich                        BDCF-00018385


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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      9/15/2015 Email from T. Clarke to    BDCF-00018428
   315                                S. Deckoff, R. Ehrlich
                                      9/17/2015 Email from B. Murphy       BDCF-00018443 -
   316                                to R. Ehrlich                        BDCF-00018449
                                      9/19/2015 Email from T. Clarke to    BDCF-00018463 -
   317                                R. Ehrlich                           BDCF-00018465
                                      9/20/2015 Email from R. Ehrlich to   BDCF-00018524 -
   318                                T. Clarke                            BDCF-00018535
                                      9/22/2015 Email from R. Ehrlich to   BDCF-00024744
   319                                M. Patrick
                                      9/28/2015 Email from R. Lattouf to   BDCF-00038843 -
   320                                T. Clarke                            BDCF-00038844
                                      9/28/2015 Email from B. Murphy       BDCF-00039762 -
   321                                to S. Bremer, K. Dutta               BDCF-00039763
                                      10/6/2015 Email from R. Ehrlich to   BDCF-00041353
   322                                T. Clarke
                                      10/8/2015 Email from A. Harris to    BDCF-00041445 -
   323                                R. Ehrlich and others                BDCF-00041449
                                      10/9/2015 Email from R. Ehrlich to   BDCF-00041460
   324                                S. Deckoff
                                      10/12/2015 Email from P. Potter to   BDCF-00044230 -
   326                                A. Harris, R. Ehrlich                BDCF-00044431
                                      10/15/2015 Email from B. Murphy      BDCF-00049766 -
   327                                to R. Lattouf and others             BDCF-00049944
                                      10/19/2015 Email from M. Mueller     BDCF-00053976 -
   328                                to R. Ehrlich, R. Lattouf            BDCF-00054200
                                      10/21/2015 Email from A. Harris to BDCF-00066867 -
   329                                M. Mueller and others              BDCF-00067019
                                      10/21/2015 Email from P. Potter to   BDCF-00075478 -
   330                                R. Kwasteniet                        BDCF-00075482
                                      10/22/2015 Email from R. Ehrlich     BDCF-00077539
   331                                to G. Shertenlieb
                                      9/18/2015 through 10/23/2015 text    BDCF-00082141 -
                                      messages between T. Clarke and R.    BDCF-00082151
   332                                Ehrlich
                                      6/25/2015 Order (A) Approving
                                      Bidding Procedures and Bid
                                      Protections in Connection with the
   333                                Sales of Certain of the Debtors’

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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      Assets, (B) Approving the Form
                                      and Manner of Notice, (C)
                                      Scheduling Auctions and a Sale
                                      Hearing, (D) Approving Procedures
                                      for the Assumption and Assignment
                                      of Contracts, and (E) Granting
                                      Related Relief, In re Patriot Coal
                                      Corp., Case No. 15-32450 (Dkt.
                                      No. 406)
                                      10/9/2015 Findings of Fact,
                                      Conclusions of Law and Order (I)
                                      Confirming the Debtors’ Fourth
                                      Amended Joint Plan of
                                      Reorganization Pursuant to Chapter
                                      11 of the Bankruptcy Code and (II)
                                      Approving the Fourth Amended
                                      Disclosure Statement, In re Patriot
                                      Coal Corp., Case No. 15-32450
   334                                (Dkt. No. 1615)
                                      8/17/2015 Email from L. Thybony       BDCF-00011892
   335                                to S. Deckoff and others
                                      8/27/2015 Email from R. Ehrlich to    BDCF-00017936 -
   336                                S. Deckoff and others                 BDCF-00017944
                                      9/13/2015 Email from S. Deckoff       BDCF-00018382
   337                                to L. Meier
                                      9/25/2015 Email from R. Ehrlich to    BDCF-00030047 -
   338                                S. Deckoff                            BDCF-00030048
                                      9/28/2015 Email from R. Ehrlich to    BDCF-00039797
   339                                S. Deckoff and others
                                      10/9/2015 Email from S. Deckoff       BDCF-00041458
   340                                to R. Ehrlich, J. Fontana
                                      10/9/2015 Email from R. Ehrlich to    BDCF-00043973 -
   341                                S. Deckoff                            BDCF-00043974
                                      10/9/2015 Email from R. Ehrlich to    BDCF-00043981 -
   342                                S. Deckoff                            BDCF-00043982
                                      10/9/2015 Email from R. Ehrlich to    BDCF-00044034 -
   343                                S. Deckoff                            BDCF-00044036
                                      10/10/2015 Email from R. Ehrlich      BDCF-00044120 -
   345                                to J. Fontana                         BDCF-00044122
                                      10/11/2015 Email from R. Ehrlich      BDCF-00044149
   346                                to S. Deckoff


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    Exhibit   Identified    Admitted                   Description                BegBates and
     No.                                                                           EndBates
                                        10/23/2015 Email from R. Ehrlich       BDCF-00076317 -
   347                                  to S. Deckoff and others               BDCF-00076319
                                        10/23/2015 Email from R. Ehrlich       BDCF-00076320 -
   348                                  to S. Deckoff and others               BDCF-00076323
                                        10/24/2015 Email from R. Ehrlich       BDCF-00077193
   349                                  to S. Deckoff
                                        9/23/2015 Email from R. Lattouf to     VCLF-00055060 -
   350                                  K. McCoy                               VCLF-00055061
                                        10/11/2015 Email from K. McCoy         VCLF-00020278 -
   351                                  to S. Deckoff                          VCLF-00020279
                                        10/9/2015 Email from B. Murphy         VCLF-00020154 -
   353                                  to K. McCoy and others                 VCLF-00020155
                                        10/9/2015 Email from K. McCoy to VCLF-00020153
   354                                  R. Ehrlich and others
                                        10/12/2015 Email from K. McCoy         VCLF-00020408 -
   355                                  to R. Ehrlich                          VCLF-00020410
                                        9/12/2015 Email from K. McCoy to TEN0018503 -
   356                                  T. Clarke                        TEN0018504
                                        9/13/2015 Email from K. McCoy to TEN0018531 -
   357                                  T. Clarke                        TEN0018533
                                        10/8/2015 Email from K. McCoy to VCLF-00020104
   359                                  T. Clarke
                                        10/16/2015 Email from P. Potter to     VCLF-00175577 -
   360                                  K. McCoy and others                    VCLF-00175578
                                        10/9/2015 Email from R. Ehrlich to     VCLF-00020160 -
   361                                  K. McCoy                               VCLF-00020161
                                        10/11/2015 Email from T. Clarke to VCLF-00020350 -
   364                                  Z. Messenger                       VCLF-00020351
                                        10/19/2015 Email from B. Murphy        VCLF-00076472 -
   3653                                 to K. McCoy                            VCLF-00076478
                                        10/23/2015 Email from T. Clarke to VCLF-00087581 -
   366                                  K. McCoy, J. McCoy                 VCLF-00087582
                                        10/28/2015 Email from K. McCoy         VCLF-00102926
   367                                  to T. Clarke
                                        10/15/2015 Email from D. Baxter        VCLF-00174779 -
   368                                  to T. Clarke                           VCLF-00174780

    3
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.

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    Exhibit   Identified    Admitted                   Description                BegBates and
     No.                                                                           EndBates
                                        10/23/2015 Email from P. Potter to     VCLF-00182962 -
   369                                  T. Clarke                              VCLF-00182963
                                        10/25/2015 Email from P. Potter to     VCLF-00183984 -
   370                                  A. Troop                               VCLF-00183986
                                        10/21/2015 Email from P. Potter to     IM-00013301 -
   371                                  J. Bernbrock                           IM-00013305
   3724                                 Citi Pension Liability Index
   3735                                 WV & KY LDFs
                                        2015 Agreement between The             VCLF-00137064 -
                                        United Mine Workers of America         VCLF-00137210
                                        and ERP Federal Mining Complex,
   375                                  LLC
                                        11/13/2009 PNC Bank Irrevocable        BDCF-00066505 -
                                        Standby Letter of Credit for           BDCF-00066513
   376                                  Applicant Patriot Coal Corp.
                                        5/3/2010 Bank of America               BDCF-00066514 -
                                        Irrevocable Standby Letter of          BDCF-00066518
                                        Credit for Applicant Patriot Coal
   377                                  Corp.
                                        11/5/2007 Bank of America              BDCF-00066520 -
                                        Irrevocable Standby Letter of          BDCF-00066526
                                        Credit for Applicant Patriot Coal
   378                                  Corp.
                                        11/6/2007 Fifth Third Bank Letter      BDCF-00066527 -
                                        of Credit for Applicant Patriot Coal   BDCF-00066528
   379                                  Corp.
                                        11/5/2007 Bank of America              BDCF-00066529 -
                                        Irrevocable Standby Letter of          BDCF-00066535
                                        Credit for Applicant Patriot Coal
   380                                  Corp.
                                        2/18/2015 Deutsche Bank                BDCF-00066536
                                        Irrevocable Letter of Credit for
   381                                  Applicant Patriot Coal Corp.
                                        3/4/2015 Deutsche Bank                 BDCF-00066537
                                        Amendment to Irrevocable Standby
   382                                  Letter of Credit

    4
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.
    5
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.

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    Exhibit   Identified    Admitted                   Description                BegBates and
     No.                                                                           EndBates
                                        12/19/2014 Deutsche Bank               BDCF-00066540 -
                                        Irrevocable Letter of Credit for       BDCF-00066542
   383                                  Applicant Patriot Coal Corp.
                                        11/5/2007 Bank of America              BDCF-00066544 -
                                        Irrevocable Standby Letter of          BDCF-00066548
                                        Credit for Applicant Patriot Coal
   384                                  Corp.
                                        10/21/2015 Email from M. Mueller       BDCF-00075312 -
   385                                  to A. Harris and others                BDCF-00075394
                                        10/9/2015 Email from R. Ehrlich to     VCLF-00057886 -
   386                                  K. McCoy                               VCLF-00057892
                                        9/22/2015 Email from R. Ehrlich to     BDCF-00025928 -
   387                                  R. Lattouf                             BDCF-00025952
                                        10/28/2015 Notice of (I)
                                        Confirmation of the Debtors’
                                        Chapter 11 Plan of Reorganization,
                                        (II) Occurrence of the Effective
                                        Date, and (III) Related Bar Dates, ,
                                        In re Patriot Coal Corp., Case No.
   388                                  15-32450 (Dkt. No. 1751)
   3896                                 Robert Briscoe Work File
                                        6/22/2017 Transcript of Hearing on
                                        Debtors' Motion for Entry of an
                                        Order, In re Patriot Coal Corp.,
   391                                  Case No. 15-32450 (Dkt. No. 2564)
                                        6/8/2017 Liquidating Trustee's
                                        Motion Seeking Approval to Sell
                                        Rights to Contingent Future
                                        Surplus Security for Payment of
                                        Workers' Compensation
                                        Obligations Free and Clear of All
                                        Liens, Claims, and Interests, In re
                                        Patriot Coal Corp., Case No. 15-
   392                                  32450 (Dkt. No. 2553)
                                        6/27/2017 Order Granting
                                        Liquidating Trustee's Motion
                                        Seeking Approval to Sell Rights to
                                        Payments Relating to Contingent
                                        Future Surplus Workers'
   393                                  Compensation, In re Patriot Coal

    6
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.

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    Exhibit   Identified    Admitted                   Description                BegBates and
     No.                                                                           EndBates
                                        Corp., Case No. 15-32450 (Dkt.
                                        No. 2566)
                                        10/26/2015 Email from B. Murphy        VCLF-00174104 -
   3957                                 to J. Whitney and others               VCLF-00174110
                                        10/15/2015 Email from R. Lattouf       BDCF-00050487
   396                                  to S. Deckoff and others
                                        9/18/2015 Notice of Filing of
                                        Fourth Amended Disclosure
                                        Statement for Debtors’ Fourth
                                        Amended Joint Plan of
                                        Reorganization, In re Patriot Coal
                                        Corp., Case No. 15-32450 (Dkt.
   397                                  No. 1333)
                                        10/22/2015 Email from P. Potter to     VCLF-00085610 -
   398                                  R. Kwasteniet                          VCLF-00085614
                                        8/31/2015 Email from R. Ehrlich to     BDCF-00018025 -
   399                                  S. Deckoff and others                  BDCF-00018047
                                        Motion to Dismiss Defendants
                                        Kentucky Coal Employers’ Self-
                                        Insurance Guaranty Fund and the
                                        Commonwealth of Kentucky,
                                        Labor Cabinet, Department of
                                        Workers Claims, or Alternatively
                                        To Transfer Venue To The United
                                        States District Court For The
                                        Eastern District Of Kentucky And
                                        Memorandum In Support, Davis v.
                                        Commonwealth of Kentucky, Case
   400                                  No. 16-03348 (Dkt. No. 5)
                                        Response to Loss Portfolio Transfer
                                        Offer, dated September 28, 2016, In
                                        re Patriot Coal Corp., Case No. 15-
   401                                  32450 (Dkt. No. 2376-2)
                                        Response to Loss Portfolio Transfer
                                        Offer, dated September 29, 2016, In
                                        re Patriot Coal Corp., Case No. 15-
   402                                  32450 (Dkt. No. 2376-3)
                                        10/24/2016 Transcript of Hearing
   403                                  on Debtors’ Motion for Entry of an


    7
     The Parties reserve their rights to argue the evidentiary weight and permissible uses and
    purposes of this exhibit.

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    Exhibit   Identified   Admitted                Description             BegBates and
     No.                                                                    EndBates
                                      Order, In re Patriot Coal Corp.,
                                      Case No. 15-32450 (Dkt. No. 2392)
                                      10/23/2015 Email from R. Lattouf    BDCF-00076594 -
   405                                to R. Ehrlich                       BDCF-00076596
                                      9/20/2015 Email from T. Clarke to
   406                                J. McCoy re: Re: patriot deal
                                      9/23/2015 Email from J. McCoy to
   407                                G. Chamblee re: Re: coal update
                                      10/26/2015 Email from T. Clarke to VCLF-00090112 -
   408                                B. Bennett                         VCLF-00090114
                                      9/29/2015 Email from T. Clarke to   VCLF-00056183 -
   410                                R. Dombrowski                       VCLF-00056185
                                      10/24/2015 Email from R.            AMBD0003443 -
   413                                Dombrowski to A. Lee                AMBD0003446
                                      10/22/2015 Email from T. Clarke to BDCF-00076089 -
   414                                A. Harris                          BDCF-00076094
                                      Letter from Tim Booth to Patriot    AMBD_B_000021
                                      Coal Corporation                    9–
                                                                          AMBD_B_000022
   417                                                                    1
                                      Document titled “ACG Monetizing ACG_000002 –
                                      Insurance Liabilities in Bankruptcy, ACG_000003
                                      Current Corporate Insurance
                                      Obligations as a Source of
                                      Liquidity & a Way to Improve
                                      Cash Flow for the Estate &
   419                                Creditors”
                                      PowerPoint presentation titled,     ACG_000004 –
                                      “ACG Corporate Self Insurance       ACG_000016
                                      Programs & Captives, Bankruptcy
                                      Specialists: Monetizing Insurance
   420                                Liabilities in Bankruptcy”
                                      Document titled, “Hudson            ACG_000017 –
                                      Structured & MultiStrat complete    ACG_000018
   421                                novel casualty ILS transaction”
                                      RFIB Policy Number:                 ACG_000019 –
                                      RARFP1700655                        ACG_000043
   422                                Risk Details




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    Exhibit   Identified   Admitted                 Description              BegBates and
     No.                                                                      EndBates
                                      Document titled, “ACG Liberate        ACG_000001
                                      Your Captive Collateral; ACG
   423                                Collateral Relief Strategies”
                                      9/15/2015 Email from R.               VCLF-00048230
   505                                Dombrowski to T. Clarke
                                      Defendants/Counterclaim
                                      Plaintiffs’ Supplemental and
                                      Amended Responses and
                                      Objections to
                                      Plaintiff/Counterclaim Defendant’s
   506                                First Set of Interrogatories
                                      “ERP Issues Layoffs at West
                                      Virginia’s Federal No. 2 Mine
                                      Ahead of Possible Idling,” Platts
   507                                (Sept. 19, 2017)
   A                                  3/29/1985 Opinion and Order in
                                      Big Yank v. Liberty Mutual Fire
                                      Ins Co. (Briscoe Ex. 3)
   B                                  10/7/1992 Bloomberg Law Big
                                      Yank v. Liberty Mutual Fire Ins
                                      Co. (Briscoe Ex. 2)
   C                                  6/10/2015 Letter Agreement        VCLF-00029385-
                                      between VCLF and Teneo to Tom     VCLF-00029393
                                      Clarke from Henry van Dyke, Brent
                                      Williams (Ex A to Murphy)
   D                                  8/16/2015 Asset Purchase
                                      Agreement between VCLF et al.
                                      and Patriot Coal Corp., (Clarke Ex.
                                      7)
   E                                  8/20/2015 - Handwritten notes of      BDCF-00082050-
                                      R. Lattouf; (Lattouf Ex. 8)           BDCF-00082140
   F                                  9/9/2015, 8:47 PM EST - Email         BDCF-00082481-
                                      from S. Deckoff to A. Harris          BDCF-00082483
                                      regarding “Re: Patriot” (Deckoff
                                      Ex. 1)
   G                                  9/13/2015, 11:20 AM EST - Email       BDCF-00018382
                                      from S. Deckoff to L. Meier
                                      regarding “Re:” (Deckoff Ex. 2)
   I                                  09/18/2015 44:24Z., Email from R.     PWSP-00023188-
                                      Kwasteniet to P. Potter et al.        PWSP-00023191
                                      regarding “VCLF”, (Potter Ex. 9)


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    Exhibit   Identified   Admitted                 Description               BegBates and
     No.                                                                       EndBates
   J                                  9/19/2015, 15:42:01Z Email from        PWSP-00024359-
                                      P. Potter to S. Levine, regarding      PWSP-00024361
                                      “Patriot”, (Potter Ex. 3)
   K                                  9/20/2015, 7:12AM EST - Email          SRZ-00000034
                                      from A. Harris to P. Potter
                                      regarding “Re: Patriot:
                                      VCLF/Black Diamond” (Harris Ex.
                                      2)
   L                                  9/20/2015, 1:02 PM EST - Email         BDCF-00082485
                                      from E. Ehrlich to R. Silverman et
                                      al regarding “Auction” (Lattouf
                                      Ex.1)
   M                                  9/20/2015, 7:09 PM EST - Email         BDCF-00018511
                                      from R. Ehrlich to S. Deckoff et al.
                                      regarding “Tomorrow” (Harris Ex.
                                      2A)
   N                                  9/20/2015, 8:29 PM EST - Email         BDCF-00018548-
                                      from R. Ehrlich to T. Clarke           BDCF-00018559
                                      regarding “RE: Revised ERP
                                      Federal Mining Complex, LLC
                                      Equity Allocation 9-20-2016.pdf”
                                      (Ehrlich Ex. 1, Harris Ex. 1)
   O                                   Date: 9/20/2015, 9:18 PM EST;         BDCF- 00018560
                                       Email from R. Lattouf to
                                      R. Ehrlich regarding “Re:
                                      Tomorrow” (Lattouf Dep. Ex. 2)
   P                                   9/20/2015, 13:57:24Z, Email from      TEN0019455-
                                       K. Miller to B. Murphy regarding      TEN0019456
                                       “Patriot Summary-Murphy”,
                                       (Murphy Ex. 28)
   Q                                   9/20/2015 - Letter from Black         BDCF- 00020504-
                                       Diamond to VCLF and ERP               BDCF- 00020508
                                       regarding “Re: Commitment
                                       Letter” (Gravenhorst Ex. 1)
   R                                   9/21/2015, 9:22 AM EST - Email        BDCF-00018577
                                       from S. Deckoff to R. Ehrlich,
                                       untitled (Deckoff Ex. 4, Potter Ex.
                                       1))
   S                                   9/21/2015 - Letter from Black         BDCF- 00028000-
                                       Diamond to VCLF and ERP               BDCF- 00028009
                                       regarding “Re: Commitment
                                       Letter” (Deckoff Ex. 5,
                                       Ehrlich Ex. 2,
                                       Gravenhorst Ex. 2, Harris Ex. 3,
                                       Lattouf Ex. 3)

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    Exhibit   Identified   Admitted                Description          BegBates and
     No.                                                                 EndBates
   T                                  9/22/2015, 7:59 AM EST -         BDCF-00020511-
                                      Email from R. Lattouf to R.      BDCF-00020514
                                      Lattouf regarding “Patriot
                                      Coal Credit Notes.pdf –
                                      Adobe Acrobat Standard”
                                      (Lattouf Ex. 19)
   U                                  9/22/2015, 7:59 AM EST -         BDCF-00020515-
                                      Email from R. Lattouf to R.      BDCF-00020592
                                      Lattouf regarding “2015-05-
                                      01 Patriot Coal Packet.pdf –
                                      Adobe Acrobat Standard”
                                      (Lattouf Ex. 20)
   V                                  9/22/2015, 8:03 AM EST -         BDCF- 00083068-
                                      Email from R. Lattouf to R.      BDCF- 00083130
                                      Lattouf regarding
                                      “Patriot_FTI_2015 07
                                      29_Lender Presentation.pdf –
                                      Adobe Acrobat Standard”
                                      (Lattouf Ex. 21)
   W                                  9/22/2015, 8:04 AM EST -         BDCF- 00020593-
                                      Email from R. Lattouf to R.      BDCF-00020597
                                      Lattouf regarding “Patriot
                                      Letter to the Board Black
                                      Diamond.pdf – Adobe
                                      Acrobat Standard” (Lattouf
                                      Ex. 22)
   X                                  9/22/2015, 15:59:44Z –Email      PWSP-00025675
                                      from P. Potter to A Harris et
                                      al. regarding “Re: Patriot
                                      VCLF-BD Transaction”
                                      (Potter Decl. Ex. B)
   Y                                  9/22/2015,11:59 AM EST -         PWSP-00025675
                                      Email from A. Harris to A.
                                      Troop et al. regarding “Re:
                                      Patriot: VCLF-BD
                                      Transaction” (Harris Ex. 6)
   Z                                  9/23/2015, 12:40 PM EST -        BDCF-00026195-
                                      Email from R. Lattouf to M.      BDCF-00026197
                                      Connolly regarding “Re:
                                      Mine visit” (Lattouf Ex. 24)
   AA                                 9/24/2015, 1:23 PM EST -         PWSP-00032310
                                      Email from A. Harris to A.
                                      Troop et al. regarding “RE:
                                      Patriot: VCLF-BD
                                      Transaction” (Harris Ex. 7)
   AB                                 9/24/2015 - Handwritten note     BDCF- 00081969-
                                      of R. Lattouf (Lattouf Ex. 18)   BDCF- 00081996

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    Exhibit   Identified   Admitted               Description            BegBates and
     No.                                                                  EndBates
   AC                                 9/29/2015, 5:00 PM EDT-           BDCF-0003990-
                                      Email from R. Lattouf to D.       BDCF-0003997
                                      Tropp, M. Patrick et al.
                                      regarding “RE: Workers
                                      Comp Actuarial assessment-
                                      time sensitive”
   AD                                 9/29/2015, 9:38 PM EST -          BDCF-00040076-
                                      Email from D. Tropp to R.         BDCF-00040085
                                      Lattouf regarding “Re:
                                      Workers Comp Actuarial
                                      assessment – time sensitive”
                                      (Lattouf Ex. 23)
   AE                                 10/8/2015, 5:46PM EDT             SRZ-00000104
                                      Email from A. Harris to P.
                                      Potter regarding
                                      “Confirmation Order”
   AF                                 10/8/2015 and 10/9/2015
                                      excerpt cover pages of
                                      Transcript of Continued
                                      Hearing (Potter Decl. Ex. E)
   AG                                 10/7/2015, 9:13 AM EST -          BDCF- 00041379-
                                      Email from T. Clarke to R.        BDCF- 00041380
                                      Ehrlich regarding “Re:
                                      Commitment Letter” (Ehrlich
                                      Ex. 21, Harris Ex. 5)
   AH                                 10/9/2015, 11:01AM EDT            SRZ- 00000121
                                      Email from J. Whitney to A.
                                      Harris regarding “Patriot:
                                      VCLF-BD Transaction”
   AI                                 10/9/2015, 4:21 PM EST - Email    BDCF-00043456-
                                      from S. Deckoff to R. Ehrlich     BDCF-00043457
                                      regarding “Re: Federal #2
                                      Timing Comparison Plan A -
                                      Plan B 10-09-15”
                                      (Deckoff Ex. 6)
   AJ                                 10/9/2015, 7:12 PM EST - Email    BDCF-00043975-
                                      from S. Deckoff to R. Ehrlich     BDCF-00043976
                                      regarding “Re: Patriot
                                      Confirmation Order” (Deckoff
                                      Ex. 8)
   AK                                 10/9/2015, 8:19 PM EST - Email    BDCF- 00043994-
                                      from S. Deckoff to K. McCoy       BDCF- 00043995
                                      regarding “Re: Federal Business
                                      Unit – Monthly Income
                                      Statements 2013/2014/2015 July
                                      YTD” (Deckoff Ex. 7)
   AL                                 10/9/2015 Excerpts from

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    Exhibit   Identified   Admitted                Description              BegBates and
     No.                                                                     EndBates
                                      Findings of Fact, Conclusions of
                                      Law, And Order (I) Confirming
                                      the Debtors’ Fourth Amended
                                      Joint Plan of Reorganization
                                      Pursuant to Chapter 11 of the
                                      Bankruptcy Code and (II)
                                      Approving the Fourth Amended
                                      Disclosure Statement (Potter
                                      Decl. Ex. D)
   AM                                 10/9/2015 Findings of Fact,
                                      Conclusions of Law, And Order
                                      (I) Confirming the Debtors’
                                      Fourth Amended Joint Plan of
                                      Reorganization Pursuant to
                                      Chapter 11 of the Bankruptcy
                                      Code and (II) Approving the
                                      Fourth Amended Disclosure
                                      Statement (Ex. F)
   AN                                 10/9/2015 Schulte Roth & Zabel       SRZ-00018891-
                                      Invoice to Black Diamond             SRZ-00018892
   AO                                 10/10/2015, 4:26 PM EST -            BDCF-00044119
                                      Email from R. Ehrlich to S.
                                      Deckoff regarding “Re:”
                                      (Deckoff Ex. 9)
   AP                                 10/11/2015, 9:04 AM EST -            BDCF-00044145
                                      Email from S. Deckoff to R.
                                      Ehrlich et al. (Deckoff Ex. 10)
   AQ                                 10/12/2015, 5:04 PM EST -            SRZ-00000309-
                                      Email from P. Potter to A. Harris    SRZ-00000311
                                      et al. regarding “FW:
                                      VCLF/Patriot Draft APA and
                                      Related Documents” (Harris Ex.
                                      8)
   AR                                 10/13/2015 11:41:44Z, Email          VCLF-
                                      from P. Potter to T. Clarke et al.   00000174166-
                                      regarding “Black Diamond”,           VCLF-
                                      (Potter Ex. 49)                      00000174167
   AS                                 10/13/2015 14:21:48Z, Email          VCLF-000174172-
                                      from T. Clarke to P. Potter et al.   VCLF-000174173
                                      regarding “Black Diamond”,
                                      (Potter Ex. 50)
   AT                                 10/15/2015, 11:46am EDT- Email
                                      from M. Loreman to
                                      J. McCoy et al. regarding “Non-
                                      binding proposal to provide
                                      marketing services and

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    Exhibit   Identified   Admitted                Description                BegBates and
     No.                                                                       EndBates
                                      inventory/receivables financing”
                                      (Loreman Ex. 1)
   AU                                 10/16/2015, 1:02:2:46Z – Email         IM-00005322
                                      from F. Kwok to A. Troop et al.
                                      regarding “VCLF/Patriot” (Potter
                                      Decl. Ex. F)
   AV                                 10/15/2015, 3:22PM Email from          KE_BD_0002522-
                                      R. Dombrowski to P. Potter et al.      KE_BD_0002523
                                      regarding “Diligence Requests”,
                                      (Potter Ex. 10)
   AW                                 10/16/2015, 15:48:09Z Email            IM-00005353-
                                      from P. Potter to M. Collins et al.,   IM-00005356
                                      regarding “VCLF-Environmental
                                      Due Diligence” (Potter Ex. 7)
   AX                                 10/20/2015, 20:30:00Z Email            VCLF-00177668
                                      from unknown (P. Potter?) to W.
                                      Sullivan et al. regarding
                                      “Patriot/VCLF: A&R Asset
                                      purchase Agreement”, (Potter Ex.
                                      47)
   AY                                 10/20/2015, 8:54 PM EST - Email        PWSP-00063467-
                                      from P. Potter to D. Baxter et al.     PWSP-00063472
                                      regarding “RE: Patriot/VCLF:
                                      A&R Asset Purchase Agreement”
                                      (Harris Ex. 9)
   AZ                                 10/20/2015, 9:19 PM EST - Email        SRZ-00008943-
                                      from R. Ehrlich to S. Deckoff et       SRZ-00008962
                                      al. regarding “FW: Patriot/VCLF:
                                      A&R Asset Purchase Agreement”
                                      (Deckoff Ex. 11)
   BA                                 10/20/2015, 1:13:45Z Email from        IM-00011856-
                                      P. Potter to R. Kwasteniet et al.,     IM-00011857
                                      regarding “Patriot 10 Days of
                                      Inventory Calculation”, (Potter Ex.
                                      8)
   BB                                 10/21/2015, 6:39 PM EST - Email        PWSP-00065859-
                                      from A. Harris to P. Potter            PWSP-00065862
                                      regarding “Re: Patriot APA Cover
                                      Letter Feedback” (Harris Ex. 10)
   BC                                 10/21/2015, 7:40 PM EST - Email        BDCF-00066708-
                                      from R. Ehrlich to S. Deckoff et       BDCF-00066713
                                      al. regarding “RE: Patriot APA
                                      Cover Letter Feedback” (Deckoff
                                      Ex. 12)
   BD                                 10/21/2015 Draft Amended and           BDCF-00066943-
                                      Restated Asset Purchase                BDCF-00067019
                                      Agreement (Clarke Ex. 16)


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    Exhibit   Identified   Admitted                Description                BegBates and
     No.                                                                       EndBates
   BE                                 10/22/2015, 9:31AM- Email from         PWSP-00068350-
                                      R. Kwasteniet to P Potter              PWSP-00069504
                                      regarding “Can We Talk in 15
                                      Minutes? Urgent” (Potter Decl.
                                      Ex. K)
   BF                                 10/22/2015, 14:58:39Z, Email           VCLF-00182731
                                      from P. Potter to C. Mirick et al.
                                      regarding “Patriot-Update. Initial
                                      response from K&E-Privileged
                                      and confidential
                                      Communication/Attorney Work
                                      Product/Prepared in Anticipation
                                      of Litigation” (Potter Ex. 48)
   BG                                 10/22/2015, 7:03 PM EST - Email        BDCF-00076221-
                                      from B. Murphy to R. Lattouf           BDCF-00076224
                                      regarding “RE: Model” (Lattouf
                                      Ex. 4)
   BH                                 10/22/2015, 3:40:06Z. Email from       VCLF- 00084559
                                      M. Mueller to S. Hessler et al.
                                      regarding “Patriot/VCLF: A&R
                                      Asset Purchase Agreement and
                                      Schedules” (Potter Decl. Ex. J)
   BI                                 10/22/2015, 3:54:28Z, Email from       VCLF-00085610-
                                      P. Potter to R. Kwastenite et al.      VCLF-00085614
                                      regarding “Patriot-VCLF APA
                                      Letter” (Potter Decl. Ex. I)
   BJ                                 10/22/2015, 7:03PM EDT, Email          BDCF-00076221-
                                      from R. Lattouf to B. Murphy,          BDCF-00076224
                                      regarding “RE: Model” (Murphy
                                      Ex. 11)
   BK                                 10/22/2015, 23:55:19Z, Email           TEN0028715
                                      from B. Murphy to T. Clarke et al.
                                      regarding “Patriot-Model
                                      Changes/Financing Charges”
                                      (Clarke Ex. 19)
   BL                                 10/23/2015, 7:01 AM EST - Email        BDCF-00076276-
                                      from T. Clarke to R. Ehrlich           BDCF-00076278
                                      regarding “Federal Mining
                                      Complex PL and Balance Sheet
                                      Closing to CY2019 10-23-
                                      2015.pdf” (Ehrlich Ex. 4)
   BM                                 10/23/2015, 7:04 AM EST - Email        BDCF-00076285-
                                      from T. Clarke to J. Fontana et al.    BDCF-00076287
                                      regarding “Fwd:” (Ehrlich Ex. 5)
   BN                                 10/23/2015, 9:26 AM EST - Email
                                      from R. Ehrlich to H. Gravenhorst
                                      regarding “FW: Summary of ERP
                                      Facilities” (Ehrlich Ex. 20, Lattouf

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    Exhibit   Identified   Admitted               Description              BegBates and
     No.                                                                    EndBates
                                      Ex. 5)
   BO                                 10/23/2015, 9:41 AM EST - Email
                                      from R. Ehrlich to H. Gravenhorst
                                      regarding “RE: Summary of ERP
                                      Facilities” (Deckoff Ex. 13,
                                      Ehrlich Ex. 22, Lattouf Ex. 6)
   BP                                 10/23/2015, 10:24 AM EST -          BDCF-00076338-
                                      Email from H. Gravenhorst to T.     BDCF-00076340
                                      Clarke regarding “Summary of
                                      ERP Facilities” (Deckoff Ex. 4,
                                      Ehrlich Ex. 13, Gravenhorst Ex.
                                      4, Harris Ex. 12, Lattouf Ex. 7)
   BQ                                 10/23/2015, 11:02 AM EST -          BDCF-00076344-
                                      Email from D. Baxter to D.          BDCF-00076345
                                      Baxter et al. regarding “VCLF
                                      Proposed Email from Pillsbury to
                                      K&E” (Ehrlich Ex. 9, Harris Ex.
                                      11)
   BR                                 10/23/2015, 11:22 AM EST -
                                      Email from R. Ehrlich to
                                      H. Gravenhorst regarding “RE:
                                      Summary of ERP Facilities”
                                      (Deckoff Ex. 15, Ehrlich Ex. 24-
                                      25, Lattouf Ex. 9)
   BS                                 10/23/2015, 1:12 PM EST - Email
                                      from R. Ehrlich to H. Gravenhorst
                                      regarding “Summary of ERP
                                      Facilities” (Deckoff Ex. 16,
                                      Ehrlich Ex. 26, Lattouf Ex. 10)
   BT                                 10/23/2015, 1:20 PM EST -           BDCF-00076458-
                                      Email from H. Gravenhorst to        BDCF-00076460
                                      T. Clarke regarding “Summary
                                      of ERP Facilities” (Deckoff Ex.
                                      17, Ehrlich Ex. 14, Gravenhorst
                                      Ex. 6, Harris Ex. 13, Lattouf
                                      Ex. 12)
   BU                                 10/23/2015, 2:04 PM EST -           BDCF-00076502-
                                      Email from H. Gravenhorst to        BDCF-00076504
                                      T. Clarke regarding “Summary
                                      of ERP Facilities” (Deckoff Ex.
                                      18, Ehrlich Ex. 15, Gravenhorst
                                      Ex. 7, Harris Ex. 14, Lattouf
                                      Ex. 13)
   BV                                 10/23/2015, 2:18 PM EST -           BDCF-00076511-
                                      Email from H. Gravenhorst to        BDCF-00076513
                                      T. Clarke regarding “Summary
                                      of ERP Facilities” (Deckoff Ex.

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    Exhibit   Identified   Admitted               Description              BegBates and
     No.                                                                    EndBates
                                      19, Ehrlich Ex. 16, Gravenhorst
                                      Ex. 8, Harris Ex. 15, Lattouf
                                      Ex. 14)
   BW                                 10/23/2015, 2:39 PM EST –           BDCF-00076591-
                                      Email from R. Lattouf to R.         BDCF-00076593
                                      Ehrlich regarding “FW:
                                      VCLF_Business
                                      Plan_102315_1pm.xlsx”
                                      (Lattouf Ex. 11)
   BX                                 10/23/2015, 2:45 PM EST –           BDCF-00076597-
                                      Email from R. Lattouf to Z.         BDCF-00076598
                                      Messenger regarding “Re:
                                      VCLF Business Plan
                                      _102315_1pm.xlsx”
                                      (Lattouf Ex. 15)
   BY                                 10/23/2015, 15:02:23Z, Email        PWSP-00069034-
                                      from D. Baxter to D. Baxter et      PWSP-00069035
                                      al. regarding “VCLF Proposed
                                      Email from Pillsbury to K&E”
                                      (Potter Decl. Ex. L)
   BZ                                 10/23/2015, 15:10:13Z Email         TEN0032607-
                                      from M. Madden to B. Murphy,        TEN0032608
                                      regarding “Re: Patriot Coal”
                                      (Murphy Ex. 14)
   CA                                 10/23/2015, 3:29:02PM Email         BDCF-00077244-
                                      from P. Potter to P. Potter         BDCF-00077245
                                      regarding “Commitment Letter”,
                                      (Potter Ex. 2)
   CB                                 10/23/2015, 4:14 PM EDT-            BDCF-00076713-
                                      Email from D. Carickhoff to H       BDCF-00076725
                                      Epstein, JR Bermbock, P Potter
                                      et al. regarding “Patriot
                                      Coal/AIG-Further Revised
                                      Stipulation-v4 agst v5 [IWOV-
                                      Archer.FID3676537]
   CC                                 10/23/2015, 8:54 PM, Email          KE_BD_0002431
                                      from P. Potter to R. Kwasteniet
                                      regarding “Re: The 3pm was
                                      moved to 3:30” (Potter Ex. 18)
   CD                                 10/23/2015, 12:47:32Z Email         TEN0032586
                                      from J. McCoy to M. Loreman
                                      et al., regarding “call”, (Murphy
                                      Ex. 16)
   CE                                 10/23/2015, 18:01:45Z- Email        VCLF-00087672-
                                      from J. McCoy to T. Clarke          VCLF-00087673
                                      regarding “Re: Summary of ERP
                                      Facilities”, (J. McCoy Ex. 23, K.

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    Exhibit   Identified   Admitted               Description               BegBates and
     No.                                                                     EndBates
                                      McCoy Ex. 19)
   CF                                 10/23/2015, 19:55:29Z, Email         VCLF-000183073-
                                      from P. Potter to T. Clarke et al.   VCLF-000183075
                                      regarding “Total Non Starter This
                                      is DEAD! No one can believe
                                      Pillsbury will work on closing
                                      this”, (Potter Ex. 25)
   CG                                 10/23/2015 20:00:11Z Email from      VCLF-000183080-
                                      P. Potter to T. Clarke et al.        VCLF-000183082
                                      regarding “Total Non Starter This
                                      is DEAD! No one can believe
                                      Pillsbury will work on closing
                                      this”, (Potter Ex. 26)
   CH                                 10/23/2015, 21:28:06Z Email          VCLF- 00183194
                                      from K. McCoy to P. Potter
                                      regarding “Confidential Request”,
                                      (Potter Ex. 38)
   CI                                 10/23/2015, 21:31:09Z Email          VCLF- 00183195
                                      from P. Potter to K. McCoy
                                      regarding “Confidential Request”
                                      (Potter Ex. 39)
   CJ                                 10/23/2015, 22:51:57Z, Email         VCLF-00088150
                                      from M. Loreman to M. Collins at
                                      al. regarding “Re: Documents
                                      from Tom Clarke” (Loreman Ex.
                                      5)
   CK                                 10/24/2015, 4:35 PM EST –            BDCF-00077192
                                      Email from S. Deckoff to R.
                                      Ehrlich regarding “Re:” (Deckoff
                                      Ex. 20)
   CL                                 10/24/2015, 5:21 PM EST –            BDCF-00077196
                                      Email from R. Ehrlich to T.
                                      Clarke regarding “Update” (Harris
                                      Ex. 18)
   CM                                 10/24/2015, 6:59 PM EST – Text       BDCF-00082153-
                                      messages from S. Deckoff             BDCF-00082155
                                      (Deckoff Ex. 23)
   CN                                 10/24/2015, 7:01 PM EST – Email      BDCF-00082156
                                      from S. Deckoff to
                                      M. Moreno, untitled (Deckoff Ex.
                                      22)
   CO                                 10/24/2015, 11:54:07Z, Email         TEN0032667-
                                      from T. Clarke to K. McCoy et al.,   TEN0032670
                                      regarding “Non-binding proposal
                                      to provide marketing services and
                                      inventory/receivables financing”,
                                      (K. McCoy Ex. 18)

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    Exhibit   Identified   Admitted               Description                BegBates and
     No.                                                                      EndBates
   CP                                 10/24/2015, 18:44:52Z, Email          VCLF-0018335-
                                      from B. Murphy to D. Baxter et al.    VCLF-00183341
                                      regarding “Patriot-BDCM Term
                                      Sheet/Commitment Letter”,
                                      (Potter Ex.27)
   CQ                                 10/24/2015, 18:56:42Z, Email          VCLF-00183386-
                                      from D. Baxter to T. Clarke et al.    VCLF-00183393
                                      regarding “Patriot-BDCM Term
                                      Sheet/Commitment Letter”,
                                      (Potter Ex. 29)
   CR                                 10/24/2015, 18:58:21Z, Email          VCLF-00183378-
                                      from A. Troop to T. Clarke et al.     VCLF-00183385
                                      regarding “Patriot-BDCM Term
                                      Sheet/Commitment Letter”,
                                      (Potter Ex. 28)
   CS                                 10/24/2015, 21:27:12Z, Email          VCLF- 00173673
                                      from B. Murphy to Patriot Coal et
                                      al. regarding “Counter”, (Potter
                                      Ex. 5)
   CT                                 10/24/2015, 23:36:47Z, Email          VCLF-00183409-
                                      from B. Murphy to A. Troop et al.     VCLF-00183410
                                      regarding “Patriot-Debtor
                                      Loan/Terms”, (Potter Ex. 51)
   CU                                 10/24/2015– Text message from S.      BDCF-00077481
                                      Deckoff to T. Clarke (Deckoff Ex.
                                      21)
   CV                                 10/25/2015, 10:55 AM EST –            BDCF-00077216-
                                      Email from R. Ehrlich to              BDCF-00077218
                                      S. Deckoff regarding “Fwd:
                                      Blackhawk Mining LLC – Credit
                                      Agreements” (Ehrlich Ex. 11)
   CW                                 10/25/2015, 2:59:39 PM, Email         BDCF-00077246-
                                      from P Potter to P. Potter            BDCF-00077248
                                      regarding “Summary of ERP
                                      Facilities 2:59:39PM”, (Potter Ex.
                                      14)
   CX                                 10/25/2015, 3:00:28 PM Email          BDCF- 00077236-
                                      from P Potter to P. Potter,           BDCF- 00077239
                                      regarding “Summary of ERP
                                      Facilities”, (Potter Ex. 12)
   CY                                 10/25/2015, 3:00:56 PM Email          BDCF- 00077240-
                                      from P. Potter to P. Potter           BDCF- 00077243
                                      regarding “Summary of ERP
                                      Facilities 2:04pm”, (Potter Ex. 13)
   CZ                                 10/25/2015, 3:01:23 PM, Email         BDCF-00077249-
                                      from P. Potter to P. Potter           BDCF-00077251
                                      regarding “Summary of ERP
                                      Facilities 10:24am”, (Potter Ex.

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    Exhibit   Identified   Admitted               Description              BegBates and
     No.                                                                    EndBates
                                      11)
   DA                                 10/25/2015, 3:41PM, Email from      BDCF-00077219-
                                      P. Potter to A. Harris et al.       BDCF-00077220
                                      regarding “In re Patriot Coal-
                                      VCLF/Black Diamond” (Potter
                                      Ex. 15)
   DB                                 10/25/2015, 10:47 PM EST –          BDCF-00077214-
                                      Email from S. Deckoff to            BDCF-00077215
                                      R. Ehrlich regarding “Re: Federal
                                      Weekly Cash flow 10- 23-
                                      2015.pdf” (Deckoff Ex. 24)
   DC                                 10/25/2015, 4:02 PM EST –           SRZ-00018656-
                                      Email from A. Harris to R.          SRZ-00018692
                                      Ehrlich et al. regarding “Fwd:
                                      In re Patriot Coal –
                                      VCLF/Black Diamond”
                                      (Ehrlich Ex. 17, Harris Ex. 16)
   DD                                 10/25/2015, 6:21PM EDT,             BDCF-00077252-
                                      Email from A. Harris to P.          BDCF-00077253
                                      Potter et al., regarding In re
                                      Patriot Coal-VCLF/Black
                                      Diamond (Potter Decl. Ex. N,
                                      Potter Ex. 19)
   DE                                 10/25/2015, 14:53:11Z, Email        VCLF-00183514
                                      from P. Potter to T. Clarke et
                                      al., regarding “Privileged and
                                      Confidential Attorney- Client
                                      Communication, Attorney work
                                      product, prepared in
                                      anticipation of litigation”,
                                      (Potter Ex. 30)
   DF                                 10/25/2015, 15:06:52Z, Email,       VCLF-00183526-
                                      regarding “Privileged and           VCLF-00183527
                                      Confidential Attorney-Client
                                      Communication, Attorney work
                                      product, prepared in
                                      anticipation of litigation”,
                                      (Potter Ex. 31)
   DG                                 10/25/2015, 15:38:31Z, Email        VCLF- 0018358-
                                      from T. Clarke from P. Potter       VCLF- 00183540
                                      regarding “Summary of ERP
                                      Facilities”, (Potter Ex. 32)
   DH                                 10/25/2015, 15:38:34Z, Email        VCLF-00183544-
                                      regarding Summary of ERP            VCLF-00183546
                                      Facilities”, (Potter Ex. 33)
   DI                                 10/25/2015. 15:39:10Z, Email        VCLF- 00183547-
                                      from P. Potter to T. Clarke         VCLF- 00183549

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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      regarding “Summary of ERP
                                      Facilities”, (Potter Ex. 34)
   DJ                                 10/25/2015, 15:42:31Z, Email,         VCLF-00183554-
                                      regarding “Summary of ERP             VCLF-00183556
                                      Facilities”, (Potter Ex. 35)
   DK                                 10/25/2015, 15:44:35Z, Email          VCLF- 00183565-
                                      from T. Clarke from P. Potter         VCLF- 00183568
                                      regarding “Summary of ERP
                                      Facilities”, (Potter Ex. 36)
   DL                                 10/25/2015 15:46:01Z, Email           VCLF-0018573-
                                      from T. Clarke to P. Potter,          VCLF-0018354
                                      regarding “Privileged and
                                      Confidential, Attorney work
                                      product. For litigation”, (Potter
                                      Ex. 40)
   DM                                 10/25/2015, 16:06:34Z-Email           VCLF-00183651-
                                      from T. Clarke to P. Potter et al.    VCLF-00183657
                                      regarding “Re: Summary of
                                      ERP Facilities” (Potter Ex. 37)
   DN                                 10/25/2015, 16:53:03Z, Email          VCLF-00183705-
                                      from W. Sullivan to A. Troop et       VCLF-00183707
                                      al., regarding “Privileged and
                                      Confidential, Attorney work
                                      product prepared in anticipation
                                      of litigation” (Potter Ex. 41)
   DO                                 10/25/2015, 19:15:25Z, Email          VCLF-00183759-
                                      from P. Potter to A. Troop et al.,    VCLF-00183760
                                      regarding “Letter to Adam
                                      Harris-last call for comments”,
                                      (Potter Ex. 42)
   DP                                 10/25/2015, 19:17:55Z, Email          VCLF-0018377-
                                      from C. Mirick to P. Potter et al.    VCLF-00183778
                                      regarding “letter to Adam Harris
                                      last call for comments”, (Potter
                                      Ex. 43)
   DQ                                 10/25/2015, 19:41:56Z, Email          VCLF-0088837-
                                      from P. Potter to A. Harris et al.,   VCLF-0088866
                                      regarding “In re Patriot Coal-
                                      VCLF/Black Diamond” (Potter
                                      Decl. Ex. M)
   DR                                 10/25/2015, 20:03:12Z, Email          VCLF-000183900-
                                      from P. Potter to C. Mirick et al.    VCLF-000183904
                                      regarding “letter to Adam Harris
                                      last call for comments”, (Potter
                                      Ex. 44)
   DS                                 10/25/2015, 22:31:39Z, Email          VCLF-000183962-
                                      from P. Potter to A. Troop et al.,    VCLF-000183963

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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      regarding “Privileged and
                                      Confidential, Attorney work
                                      product prepared in anticipation
                                      of litigation”, (Potter Ex. 45)
   DT                                 10/25/2015, 8:43PM EDT, Email         BDCF-00077254-
                                      from P. Potter to A. Harris et al.,   BDCF-00077293
                                      regarding “RE: In re Patriot
                                      Coal- VCLF/Black Diamond”
                                      (Potter Decl. Ex. O)
   DU                                 10/25/2015, 8:43PM EDT,               BDCF-00077254-
                                      Email from P. Potter to A.            BDCF-00077256
                                      Harris regarding “RE: In re
                                      Patriot Coal-VCLF/Black
                                      Diamond”, (Potter Decl. Ex. 20)
   DV                                 10/25/2015, 9:21 PM EST –             BDCF-00077264-
                                      Email from A. Harris to R.            BDCF-00077274
                                      Ehrlich et al. regarding “FWD:
                                      In re Patriot Coal – VCLF/Black
                                      Diamond” (Harris Ex. 19)
   DW                                 10/25/2015, 9:49PM EST –              BDCF-00077285-
                                      Email from A. Harris to R.            BDCF-00077289
                                      Ehrlich regarding “Re: In re
                                      Patriot Coal – VCLF/Black
                                      Diamond” (Deckoff Ex. 25,
                                      Harris Ex. 20)
   DX                                 10/25/2015, 11:34 PM EST –            BDCF-00077290-
                                      Email from A. Harris to P.            BDCF-00077293
                                      Potter regarding “RE: In re
                                      Patriot Coal – VCLF/Black
                                      Diamond” (Ehrlich Ex. 18,
                                      Harris Ex. 17, Potter Ex. 22)
   DY                                 10/25/2015 letter to A. Harris        BDCF-00077262-
                                      from P. Potter regarding “In re       BDCF-00077263
                                      Patriot Coal Corp. et al. Case
                                      No. 15-32450 Chapter 11”
                                      (Potter Ex. 21)
   DZ                                 10/25/2015 letter to A. Harris        BDCF-00077231-
                                      from P. Potter regarding “In re       BDCF-00077235
                                      Patriot Coal Corp. et al. Case
                                      No. 15-32450” (Potter Ex. 16)
   EA                                 10/25/2015 letter to A. Harris        VCLF-00183515-
                                      from P. Potter regarding: “In re      VCLF-00183518
                                      Patriot Coal et al.”, (Potter Ex.
                                      30a)
   EB                                 10/26/2015, 3:33 PM EST –             BDCF-00077356
                                      Email from D. Ozen to R.
                                      Lattouf, untitled (Lattouf Ex.

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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
                                      16)
   EC                                 10/26/2015, 04:12:27Z, Email          VCLF-00185523-
                                      from P. Potter to C. Mirick et al.    VCLF-00185526
                                      regarding “In re Patriot Coal-
                                      VCLF Black Diamond”, (Potter
                                      Ex. 46)
   ED                                 10/26/2015, 5:59 PM EST -             BDCF-00077353-
                                      Email from D. Pinsky to P.            BDCF-00077355
                                      Potter regarding “BLACK
                                      DIAMOND COMMERCIAL
                                      FINANCE, LLC –v.-
                                      VIRGINIA CONSERVATION
                                      LEGACY FUND, INC. et al.;
                                      Supreme Court NY Cty”
                                      (Ehrlich Ex. 12, Harris Ex. 21)
   EE                                 10/26/2015, 12:43pm EDT –             BDCF-00077301-
                                      Email from David Carickhoff to        BDCF-00077326
                                      H. Epstein, J.R. Bernbock, P.
                                      Potter et al., regarding “Patriot
                                      Coal/AIG- Further Revised
                                      Stipulation- v5 agst v7 [IWOV-
                                      Archer.FID3676537]
   EF                                 10/26/2015, 18:56:25Z Email           VCLF- 00091977
                                      from J. Bell to J. Whitney et al.
                                      regarding “Funding by Govind
                                      Chandak”, (Potter Ex. 6)
   EG                                 10/26/2015, 23:30:46Z Email           VCLF-000187568-
                                      from B. Murphy to D. Baxter et        VCLF-000187569
                                      al. regarding “ Call to discuss
                                      UMWA” (Potter Ex. 52)
   EH                                 10/27/2015 Equity Investment          VCLF-00160295-
                                      Term Sheet ERP Mining                 VCLF-00160299
                                      Complex LLC and ERP
                                      Settlement LLC (Clarke Ex. 2)
   EI                                 10/27/2015 Assignment and             VCLF-00010900-
                                      Assumption Agreement                  VCLF-00010910
   EJ                                 10/27/2015 Amended and
                                      Restated Asset Purchase
                                      Agreement (Clarke Ex. 3)
   EK                                 10/27/2015 Promissory Note,           KE-BD-0007124-
                                      Earnout Agreement and Security        KE-BD-0007143
                                      Agreement (Clarke Ex. 1)
   EL                                 10/28/2015, 11:57am, Email            BDCF-00077396
                                      from A. Harris to P. Potter et al.,
                                      regarding “Patriot”, (Potter Ex.
                                      23)


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    Exhibit   Identified   Admitted               Description             BegBates and
     No.                                                                   EndBates
   EM                                 10/28/2015, 12:00:30Z Email        VCLF-00102926
                                      from K. McCoy to T. Clarke
                                      regarding “Re”, (K. McCoy Ex.
                                      20)
   EN                                 10/29/2015, 1:50PM EDT,            BDCF- 00077405-
                                      Email from P. Potter to A.         BDCF- 00077406
                                      Harris regarding “Patriot-Black
                                      Diamond, (Potter Ex. 24)
   EO                                 10/29/2015, 1:53 PM EST –          BDCF-00077407-
                                      Email from A. Harris to S.         BDCF-00077409
                                      Goldfarb et al. regarding “FW:
                                      Patriot – Black Diamond”
                                      (Ehrlich Ex. 19, Harris Ex. 22)
   EP                                 11/05/2015 - Complaint
                                      (Deckoff Ex. 2A, Ehrlich Ex. 8)
   EQ                                 11/9/2015 – Email from R.          BDCF-00077418
                                      Lattouf to R. Ehrlich, untitled
                                      (Lattouf Ex. 17)
   ER                                 11/12/2015 Schulte Roth &          SRZ-00018881-
                                      Zabel invoice to Black Diamond     SRZ-00018890
   ES                                 12/3/2015 Reorganized Debtors’
                                      Motion For Entry of An Order
                                      (A) Authorizing Entry Into Loss
                                      Portfolio Transfer Transactions
                                      and (B) Granting Related Relief
   ET                                 1/15/2016 Letter from Oliver
                                      Wyman to Brian Lindhal, SVP
                                      of Brown and Brown (Briscoe
                                      Ex. 10)
   EU                                 Briscoe Ex. 41/29/16 Order (A)
                                      Authorizing Entry Into LPT
                                      Transactions and (B) Granting
                                      Related Relief
   EV                                 10/14/2016 Plaintiff’s Amended
                                      Initial Disclosures Pursuant to
                                      Rule 7026 of the Federal Rules
                                      of Bankruptcy Procedure (Potter
                                      Decl. Ex. Q)
   EW                                 12/12/2016 – Plaintiff’s
                                      Responses and Objections to
                                      Defendants/Counterclaim-
                                      Plaintiffs’ First Set of
                                      Interrogatories (Ehrlich Ex. 6)
   EX                                 2/8/2017 – AT&T Phone
                                      Records (Ehrlich Ex. 7)
   EZ                                 4/4/2017 – Plaintiff’s Privilege
                                      Log (Ehrlich Ex. 10)
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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
   FE                                 6/8/2017 Liquidating Trustee’s
                                      Motion Seeking Approval To
                                      Sell Rights To Contingent
                                      Future Surplus Security for
                                      Payment of Workers’
                                      Compensation Obligations Free
                                      and Clear of All Liens, Claims
                                      and Interests (Briscoe Ex. 8)
   FF                                 6/22/2017 Transcript of hearing on
                                      Debtors’ Motion for Entry of an
                                      Order, A, Authorizing the Debtors
                                      to Reject Certain Executory
                                      Contracts and Unexpired Leases,
                                      Effective Nunc Pro Tunc to August
                                      13, 2015, and B, Granting Related
                                      Relief filed by Patriot Coal
                                      Corporation (filed 8/13/2015),
                                      Docket No. 820; Debtors'
                                      Fourteenth Omnibus Objection to
                                      Certain, A, No-liability Retiree
                                      Benefit Claims, and, B, No-liability
                                      Retiree Benefit and Pension Claims
                                      filed by Patriot Coal Corporation
                                      (filed 11/23/2015), Docket No.
                                      1858; Debtors' Fifteenth Omnibus
                                      Objection to Certain, A,
                                      Duplicative Claims, B, Late-filed
                                      Claims, C, Substantive Duplicate
                                      Claims, D, Amended or Superseded
                                      Claims, E, Insufficient
                                      Documentation Claims, F, Satisfied
                                      Claims and, G, No-liability Claims
                                      filed by Patriot Coal Corporation
                                      (filed 1/26/2016, Docket No. 2083;
                                      Liquidating Trustee's Motion
                                      Seeking Approval to Sell Rights to
                                      Contingent Future Surplus Security
                                      for Payment of Workers'
                                      Compensation Obligations Free
                                      and Clear of All Liens, Claims and
                                      Interests filed by Patriot Coal
                                      Corporation (filed 6/8/17), Docket
                                      No. 2553 (Briscoe Ex. 7)
   FG                                 6/27/2017 Order Granting
                                      Liquidating Trustee’s Motion
                                      Seeking Approval To Sell
                                      Rights To Payments Relating to
                                      Contingent Future Surplus
                                      Workers’ Compensation
                                      Security Free and Clear of All

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    Exhibit   Identified   Admitted               Description             BegBates and
     No.                                                                   EndBates
                                      Liens, Claims and Interests
                                      (Briscoe Ex. 9)
   FH                                 10/16/2017 Privilege log (Potter
                                      Ex. 17)
   FI                                 4/17/2018 Expert Report of
                                      Robert K. Briscoe WCP
                                      (Briscoe Ex. 1)
   FK                                 5/3/2018 Robert Briscoe Work
                                      File (Briscoe Ex. 4)
   FL                                 5/10/2018 Black Diamond
                                      Capital Management Website
                                      printout (Briscoe Ex. 5)
   FN                                 Undated Total HealthCo             VCLF-00187570
                                      Proceeds (Potter Ex. 52A)
   FO                                 3/5/2018 Consulting Services
                                      Agreement with Milliman, Inc.
   FP                                 4/9/2018, 5/16/2018 Invoices
                                      from Milliman, Inc.
   FQ                                 9/1/2015 Order (A) Approving
                                      Bid Protections in Connection
                                      with the Sale of Certain of the
                                      Debtors’ Assets and (B)
                                      Granting Related Relief
   FS                                 2/17/2017 Letter from T. Booth
                                      to Patriot Coal (identical to
                                      Plaintiff’s Exhibit 417)
   FT                                 Docket sheet of Eugene Davis v.
                                      Commonwealth of Kentucky, et
                                      al. (In re Patriot Coal Corp.),
                                      Adv. Proc. 16-03348 (KLP)
                                      (Bankr. E.D. Va.)




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           2.       The following exhibits shall be entered into evidence, but not for the truth of

    matters asserted in statements by non-parties in those exhibits:

    Exhibit     Identified   Admitted                  Description                BegBates and
     No.                                                                           EndBates
   22                                    9/16/2015 Email from R.                PWSP-00022778
                                         Dombrowski to T. Clarke
   23                                    9/16/2015 Email from R.                PWSP-00023152
                                         Dombrowski to T. Clarke
   28                                    9/18/2015 Email from R.                PWSP-00023188 -
                                         Kwasteneit to P. Potter                PWSP-00023191
   32                                    9/19/2015 Email from P. Potter to      PWSP-00024359 -
                                         S. Levine                              PWSP-00024361
   60                                    10/11/2015 Email from B. Bennett       KE_BD_0002557
                                         to T. Clarke and others
   70                                    10/15/2015 Email from J. Weiss to      BDCF-00046827 -
                                         R. Lattouf, R. Ehrlich                 BDCF-00046829
   71                                    10/15/2015 Email from R.               KE_BD_0002522
                                         Dombrowski to P. Potter                -
                                                                                KE_BD_0002523
   82                                    10/19/2015 Email from B. Murphy        BDCF-00054652 -
                                         to R. Lattouf                          BDCF-00054653
   93                                    10/20/2015 Email from Z.               TEN0028572 -
                                         Messenger to R. Ehrlich                TEN0028573
   94                                    10/20/2015 Email from Z.               TEN0032393
                                         Messenger to B. Murphy
   127                                   10/23/2015 Email from Z.               TEN0032589
                                         Messenger to B. Murphy
   128                                   10/23/2015 Email from Z.               TEN0032594 -
                                         Messenger to B. Murphy                 TEN0032595
   130                                   10/23/2015 Email from J. DeKoe to TEN0032635
                                         B. Murphy
   160                                   10/24/2015 Email from B. Murphy        CENTERVIEW_
                                         to S. Bremer                           BD_0001662
   168                                   10/24/2015 Email from B. Murphy        VCLF-00174043 -
                                         to T. Clarke                           VCLF-00174045
   172                                   10/24/2015 Email from A. Troop to      VCLF-00183378 -
                                         T. Clarke                              VCLF-00183385
   173                                   10/24/2015 Email from D. Baxter        VCLF-00183386 -
                                         to T. Clarke                           VCLF-00183393


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    Exhibit   Identified   Admitted                Description               BegBates and
     No.                                                                      EndBates
   233                                10/30/2015 Email from Z.              TEN0033054
                                      Messenger to B. Murphy
   234                                10/30/2015 Email from Z.              TEN0033072
                                      Messenger to B. Murphy
   235                                10/30/2015 Email from Z.              TEN0033073 -
                                      Messenger to B. Murphy                TEN0033074
   275                                9/25/2015 Email from J. Weiss to      BDCF-00030053
                                      D. Jones and others
   280                                9/29/2015 Notes re: Call with John    BDCF-00039907 -
                                      Weiss - John T. Boyd Company -        BDCF-00039914
                                      Preliminary Diligence Takeaways
                                      on Federal 2 Mine
   283                                10/16/2015 Email from Z.              BDCF-00052217 -
                                      Messenger to R. Ehrlich, R. Lattouf   BDCF-00052218
   325                                10/9/2015 Email from J. Weiss to      BDCF-00043990 -
                                      R. Ehrlich and others                 BDCF-00043992
   344                                10/10/2015 Email from J. Weiss to     BDCF-00044108 -
                                      S. Deckoff                            BDCF-00044114
   352                                9/14/2015 Email from Z.               TEN0018566 -
                                      Messenger to K. McCoy and others      TEN0018567
   358                                10/6/2015 Email from C. Childers      VCLF-00020094
                                      to K. McCoy
   362                                10/19/2015 Email from B. Murphy       VCLF-00076856
                                      to K. McCoy
   363                                10/19/2015 Email from B. Murphy       TEN0027959
                                      to R. Lattouf
   390                                BDCM website screenshots:
                                      Welcome, About Us, Our Values,
                                      Our Investment Philosophy,
                                      Contact Us
   404                                10/22/2015 Email from Z.              BDCF-00076174 -
                                      Messenger to R. Lattouf, B.           BDCF-00076177
                                      Murphy
   409                                10/26/2015 Email from B. Bennet       VCLF-00090139
                                      to T. Clarke
   411                                10/11/2015 Email from R.              CENTERVIEW_B
                                      Dombrowski to T. Clarke               D_0000050 -
                                                                            CENTERVIEW_B
                                                                            D_0000052


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    Exhibit        Identified   Admitted                  Description                BegBates and
     No.                                                                              EndBates
   412                                       10/3/2015 Email from R.               AMBD0002267 -
                                             Dombrowski to T. Clarke               AMBD0002268


              3.       The Parties acknowledge that the following exhibits were admitted at trial:8

    Exhibit        Identified     Admitted                Description               BegBates and
     No.                                                                             EndBates
                                                 Self-Insured Employer Loss     AMBD_B_0000209 -
        415
                                                 Portfolio Transfer Checklist   AMBD_B_0000210
                                                 Loss Portfolio Transfer
                                                 Offer from PCC Liquidating
                                                                            AMBD_B_0000211 -
        416                                      Trust to Kentucky Coal
                                                                            AMBD_B_0000218
                                                 Employers’ Self-Insurance
                                                 Guaranty Fund
                                                 9/22/2015 Email from R.
        418                                                                     BDCF-00020622
                                                 Ehrlich to L. Meier
                                                 9/14/2015, 9:20 AM EST -
                                                 Email from A. Harris to S.
                                                 Deckoff et al. regarding   BDCF-00018386-
        H
                                                 “Patriot Board             BDCF-00018390
                                                 Letter.DOCX” (Deckoff Ex.
                                                 3)
                                                  5/17/2018 Daniel
        FM                                        Spragg/Alvarez & Marsal
                                                  webpage
                                                  10/11/2015 Email from
                                                  Z. Messenger to R.            VCLF-00020368-
        FR                                        Ehrlich regarding “RE:        VCLF-00020371
                                                  Patriot – Updated 13
                                                  Week Cash Budget”




    8
     This section does not include exhibits that were admitted into evidence at trial after the
    Parties stipulated to their admission on June 3, 2018 (ECF Doc. No. 341).

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           4.       The Parties acknowledge that the following exhibits were admitted at trial, but

    not for the truth of the matter asserted:

    Exhibit     Identified      Admitted                Description              BegBates and
     No.                                                                          EndBates
                                                9/12/2015 Email from R.      PWSP-00018685 -
      19
                                                Dombrowski to T. Clarke      PWSP-00018686
                                                9/17/2015 Email from R.      PWSP-00023170 -
      24
                                                Dombrowski to P. Potter      PWSP-00023172
                                                9/17/2015 Email from R.
      25                                                                     PWSP-00023175
                                                Dombrowski to T. Clarke
                                                10/26/2015 Email from B.     VCLF-00187568 -
     208
                                                Murphy to D. Baxter          VCLF-00187571
                                                10/20/2015 Email from Z.
                                                                            BDCF-00058506 -
     284                                        Messenger to R. Ehrlich and
                                                                            BDCF-00058507
                                                others
                                                10/22/2015 Email from B.     BDCF-00075675 -
     290
                                                Murphy to J. Kucish          BDCF-00075683



    WE ASK FOR THIS:

      /s/ Patrick J. Potter                               /s/ John H. Maddock III
     Patrick J. Potter (VSB No. 39766)                  Dion W. Hayes (VSB No. 34304)
     PILLSBURY WINTHROP SHAW                            John H. Maddock III (VSB No. 41044)
     PITTMAN LLP                                        McGUIREWOODS LLP
     1650 Tysons Boulevard, Suite 1400                  Gateway Plaza
     McLean, Virginia 22102-4856                        800 East Canal Street
     Telephone: (703) 770-7900                          Richmond, VA 23219-3916
     Facsimile: (703) 770-7901                          Telephone: (804) 775-1178
     E-mail: patrick.potter@pillsburylaw.com            Facsimile: (804) 698-2186
                                                        Email: dhayes@mcguirewoods.com
     - and –                                                    jmaddock@mcguirewoods.com

     William M. Sullivan, Jr. (admitted pro hac         - and -
     vice)
     PILLSBURY WINTHROP SHAW                            C. William Phillips (admitted pro hac
     PITTMAN LLP                                        vice)
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                                                        The New York Times Building
     Andrew M. Troop (admitted pro hac vice)            620 Eighth Avenue

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     Counsel to Virginia Conservation Legacy
     Fund, Inc. and ERP Compliant Fuels, LLC




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                                         Certificate of Service

            I hereby certify that on June 25, 2018, I caused the foregoing stipulation to be filed
    with and uploaded to this Court’s CM/ECF system, which will send filing to all CM/ECF
    participants, and on the following parties by email:

           William M. Sullivan, Jr. (wsullivan@pillsburylaw.com)
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           Samuel S. Cavior (samuel.cavior@pillsburylaw.com)
           Andrew M. Troop (andrew.troop@pillsburylaw.com)
           Patrick J. Potter (patrick.potter@pillsburylaw.com)

                                                          /s/ John H. Maddock III        ___
                                                          John H. Maddock III




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